               Case 21-51160-tnw                  Doc 1     Filed 10/19/21 Entered 10/19/21 15:21:42                              Desc Main
                                                            Document     Page 1 of 61

Fill in this information to identify your case:

United States Bankruptcy Court for the:

EASTERN DISTRICT OF KENTUCKY

Case number (if known)                                                      Chapter      11
                                                                                                                              Check if this an
                                                                                                                              amended filing




Official Form 201
Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                                                           04/20
If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor's name and the case number (if
known). For more information, a separate document, Instructions for Bankruptcy Forms for Non-Individuals, is available.


1.   Debtor's name                Old World Timber, LLC

2.   All other names debtor
     used in the last 8 years
                                  FDBA Reclaimed American Hardwood
     Include any assumed          DBA U S Biochar
     names, trade names and
     doing business as names

3.   Debtor's federal
     Employer Identification      XX-XXXXXXX
     Number (EIN)


4.   Debtor's address             Principal place of business                                     Mailing address, if different from principal place of
                                                                                                  business

                                  1195 Versailles Road
                                  Lexington, KY 40508
                                  Number, Street, City, State & ZIP Code                          P.O. Box, Number, Street, City, State & ZIP Code

                                  Fayette                                                         Location of principal assets, if different from principal
                                  County                                                          place of business

                                                                                                  Number, Street, City, State & ZIP Code


5.   Debtor's website (URL)


6.   Type of debtor                   Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))
                                      Partnership (excluding LLP)
                                      Other. Specify:




Official Form 201                           Voluntary Petition for Non-Individuals Filing for Bankruptcy                                             page 1
                 Case 21-51160-tnw                  Doc 1        Filed 10/19/21 Entered 10/19/21 15:21:42                                  Desc Main
                                                                 Document     Page 2 of 61
Debtor    Old World Timber, LLC                                                                         Case number (if known)
          Name



7.   Describe debtor's business        A. Check one:
                                          Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                          Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                          Railroad (as defined in 11 U.S.C. § 101(44))
                                          Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                          Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                          Clearing Bank (as defined in 11 U.S.C. § 781(3))

                                          None of the above

                                       B. Check all that apply
                                          Tax-exempt entity (as described in 26 U.S.C. §501)
                                          Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C. §80a-3)
                                          Investment advisor (as defined in 15 U.S.C. §80b-2(a)(11))

                                       C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor.
                                          See http://www.uscourts.gov/four-digit-national-association-naics-codes.
                                                 3219

8.   Under which chapter of the        Check one:
     Bankruptcy Code is the
                                          Chapter 7
     debtor filing?
                                          Chapter 9

     A debtor who is a “small             Chapter 11. Check all that apply:
     business debtor” must check
     the first sub-box. A debtor as                               The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D), and its aggregate
     defined in § 1182(1) who                                     noncontingent liquidated debts (excluding debts owed to insiders or affiliates) are less than
     elects to proceed under                                      $2,725,625. If this sub-box is selected, attach the most recent balance sheet, statement of
     subchapter V of chapter 11                                   operations, cash-flow statement, and federal income tax return or if any of these documents do not
     (whether or not the debtor is a                              exist, follow the procedure in 11 U.S.C. § 1116(1)(B).
     “small business debtor”) must                                The debtor is a debtor as defined in 11 U.S.C. § 1182(1), its aggregate noncontingent liquidated
     check the second sub-box.
                                                                  debts (excluding debts owed to insiders or affiliates) are less than $7,500,000, and it chooses to
                                                                  proceed under Subchapter V of Chapter 11. If this sub-box is selected, attach the most recent
                                                                  balance sheet, statement of operations, cash-flow statement, and federal income tax return, or if
                                                                  any of these documents do not exist, follow the procedure in 11 U.S.C. § 1116(1)(B).
                                                                  A plan is being filed with this petition.
                                                                  Acceptances of the plan were solicited prepetition from one or more classes of creditors, in
                                                                  accordance with 11 U.S.C. § 1126(b).
                                                                  The debtor is required to file periodic reports (for example, 10K and 10Q) with the Securities and
                                                                  Exchange Commission according to § 13 or 15(d) of the Securities Exchange Act of 1934. File the
                                                                  Attachment to Voluntary Petition for Non-Individuals Filing for Bankruptcy under Chapter 11
                                                                  (Official Form 201A) with this form.
                                                                  The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule 12b-2.
                                          Chapter 12

9.   Were prior bankruptcy                No.
     cases filed by or against
     the debtor within the last 8         Yes.
     years?
     If more than 2 cases, attach a
     separate list.                              District                                  When                                  Case number
                                                 District                                  When                                  Case number




Official Form 201                            Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                  page 2
                 Case 21-51160-tnw                      Doc 1        Filed 10/19/21 Entered 10/19/21 15:21:42                                 Desc Main
                                                                     Document     Page 3 of 61
Debtor    Old World Timber, LLC                                                                           Case number (if known)
          Name

10. Are any bankruptcy cases                 No
    pending or being filed by a
    business partner or an                   Yes.
    affiliate of the debtor?




     List all cases. If more than 1,
     attach a separate list                          Debtor                                                                    Relationship
                                                     District                                 When                             Case number, if known


11. Why is the case filed in           Check all that apply:
    this district?
                                                Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days immediately
                                                preceding the date of this petition or for a longer part of such 180 days than in any other district.
                                                A bankruptcy case concerning debtor's affiliate, general partner, or partnership is pending in this district.

12. Does the debtor own or                 No
    have possession of any
    real property or personal                       Answer below for each property that needs immediate attention. Attach additional sheets if needed.
                                           Yes.
    property that needs
    immediate attention?                            Why does the property need immediate attention? (Check all that apply.)
                                                       It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or safety.
                                                      What is the hazard?
                                                       It needs to be physically secured or protected from the weather.
                                                       It includes perishable goods or assets that could quickly deteriorate or lose value without attention (for example,
                                                      livestock, seasonal goods, meat, dairy, produce, or securities-related assets or other options).
                                                       Other
                                                    Where is the property?
                                                                                     Number, Street, City, State & ZIP Code
                                                    Is the property insured?
                                                       No
                                                       Yes.     Insurance agency
                                                                Contact name
                                                                Phone



          Statistical and administrative information

13. Debtor's estimation of             .         Check one:
    available funds
                                                    Funds will be available for distribution to unsecured creditors.
                                                    After any administrative expenses are paid, no funds will be available to unsecured creditors.

14. Estimated number of                    1-49                                             1,000-5,000                                 25,001-50,000
    creditors                                                                               5001-10,000                                 50,001-100,000
                                           50-99
                                           100-199                                          10,001-25,000                               More than100,000
                                           200-999

15. Estimated Assets                       $0 - $50,000                                     $1,000,001 - $10 million                    $500,000,001 - $1 billion
                                           $50,001 - $100,000                               $10,000,001 - $50 million                   $1,000,000,001 - $10 billion
                                           $100,001 - $500,000                              $50,000,001 - $100 million                  $10,000,000,001 - $50 billion
                                           $500,001 - $1 million                            $100,000,001 - $500 million                 More than $50 billion


16. Estimated liabilities                  $0 - $50,000                                     $1,000,001 - $10 million                    $500,000,001 - $1 billion

Official Form 201                                  Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                     page 3
                Case 21-51160-tnw      Doc 1         Filed 10/19/21 Entered 10/19/21 15:21:42                     Desc Main
                                                     Document     Page 4 of 61
Debtor   Old World Timber, LLC                                                      Case number (if known)
         Name

                             $50,001 - $100,000                         $10,000,001 - $50 million            $1,000,000,001 - $10 billion
                             $100,001 - $500,000                        $50,000,001 - $100 million           $10,000,000,001 - $50 billion
                             $500,001 - $1 million                      $100,000,001 - $500 million          More than $50 billion




Official Form 201                  Voluntary Petition for Non-Individuals Filing for Bankruptcy                                       page 4
                 Case 21-51160-tnw              Doc 1       Filed 10/19/21 Entered 10/19/21 15:21:42                                 Desc Main
                                                            Document     Page 5 of 61
Debtor    Old World Timber, LLC                                                                    Case number (if known)
          Name



          Request for Relief, Declaration, and Signatures

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement in connection with a bankruptcy case can result in fines up to $500,000 or
           imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.

17. Declaration and signature
    of authorized                The debtor requests relief in accordance with the chapter of title 11, United States Code, specified in this petition.
    representative of debtor
                                 I have been authorized to file this petition on behalf of the debtor.

                                 I have examined the information in this petition and have a reasonable belief that the information is true and correct.

                                 I declare under penalty of perjury that the foregoing is true and correct.

                                 Executed on      October 19, 2021
                                                  MM / DD / YYYY


                             X   /s/ Nathan S. Brown                                                      Nathan S. Brown
                                 Signature of authorized representative of debtor                         Printed name

                                 Title   CEO




18. Signature of attorney    X   /s/ Charity S. Bird                                                       Date October 19, 2021
                                 Signature of attorney for debtor                                               MM / DD / YYYY

                                 Charity S. Bird
                                 Printed name

                                 Kaplan Johnson Abate & Bird LLP
                                 Firm name

                                 710 West Main Street
                                 Fourth Floor
                                 Louisville, KY 40202
                                 Number, Street, City, State & ZIP Code


                                 Contact phone     (502) 540-8285                Email address      cbird@kaplanjohnsonlaw.com

                                 92622 KY
                                 Bar number and State




Official Form 201                         Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                     page 5
Case 21-51160-tnw        Doc 1    Filed 10/19/21 Entered 10/19/21 15:21:42            Desc Main
                                  Document     Page 6 of 61



                            RESOLUTION OF THE MANAGERS
                                        of
                               OLD WORLD TIMBER, LLC

                                        October 18, 2021

       The undersigned, being all of the managers of Old World Timber, LLC (the “Company”),
hereby adopt the following recitals and resolutions pursuant to the Amended and Restated
Operating Agreement of the Company (the “Company Agreement”). Capitalized terms not
otherwise defined herein have the meaning set forth in the Company Agreement.

        WHEREAS, the Managers have determined that the Company does not have sufficient
assets on hand to meet its financial obligations as they come due; and

       WHEREAS, the Managers has determined that it is necessary and in the best interests of
the Company and its creditors, and in furtherance of the Company’s purposes, for the Company to
seek the protection of title 11 of the United States Code (the “Bankruptcy Code”) by filing a
voluntary petition for relief under chapter 11 of the Bankruptcy Code.

       WHEREAS, the Managers, in their respective capacities as Members of the Company,
hereby ratify this Resolution in lieu of holding a meeting.

       NOW, THEREFORE, BE IT RESOLVED that Nathan Brown, as a Manager of the
Company, is authorized and directed to execute and deliver all documents necessary to commence
the Company’s voluntary chapter 11 bankruptcy case to be filed in the United States Bankruptcy
Court for the Eastern District of Kentucky.

       FURTHER RESOLVED that Nathan Brown, as Manager of the Company, is authorized
and directed to appear on behalf of the Company in all bankruptcy proceedings, and to perform all
acts and deeds and execute and deliver all necessary instruments on behalf of the Company in
connection with its bankruptcy case, provided, however, that Mr. Brown may delegate such
responsibilities to be executed by another Manager in his discretion; and

        FURTHER RESOLVED that the Company is authorized and directed to employ the law
firm of Kaplan Johnson Abate & Bird LLP to represent the Company in its bankruptcy case.

Counterparts; Electronic Mail Transmission

       This Resolution may be executed in counterparts, each of which shall constitute an original,
and all of which shall constitute one and the same Resolution. This Resolution may also be
executed by electronic mail transmission.

                                    [Signature Page Follows]
Case 21-51160-tnw     Doc 1    Filed 10/19/21 Entered 10/19/21 15:21:42   Desc Main
                               Document     Page 7 of 61




        IN WITNESS WHEREOF, the Managers of the Company have executed this Resolution
on the date first written above.



Nathan Brown, Member and Manager



Fred Doster, Member and Manager




                    RESOLUTION OF THE MANAGERS OF OLD WORLD TIMBER, LLC
                                       October 18, 2021
             Case 21-51160-tnw                        Doc 1          Filed 10/19/21 Entered 10/19/21 15:21:42                   Desc Main
                                                                     Document     Page 8 of 61




 Fill in this information to identify the case:

 Debtor name         Old World Timber, LLC

 United States Bankruptcy Court for the:            EASTERN DISTRICT OF KENTUCKY

 Case number (if known)
                                                                                                                                 Check if this is an
                                                                                                                                 amended filing



Official Form 202
Declaration Under Penalty of Perjury for Non-Individual Debtors                                                                                        12/15

An individual who is authorized to act on behalf of a non-individual debtor, such as a corporation or partnership, must sign and submit this
form for the schedules of assets and liabilities, any other document that requires a declaration that is not included in the document, and any
amendments of those documents. This form must state the individual’s position or relationship to the debtor, the identity of the document,
and the date. Bankruptcy Rules 1008 and 9011.

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341,
1519, and 3571.



                Declaration and signature


       I am the president, another officer, or an authorized agent of the corporation; a member or an authorized agent of the partnership; or another
       individual serving as a representative of the debtor in this case.

       I have examined the information in the documents checked below and I have a reasonable belief that the information is true and correct:

                  Schedule A/B: Assets–Real and Personal Property (Official Form 206A/B)
                  Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
                  Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)
                  Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G)
                  Schedule H: Codebtors (Official Form 206H)
                  Summary of Assets and Liabilities for Non-Individuals (Official Form 206Sum)
                  Amended Schedule
                  Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and Are Not Insiders (Official Form 204)
                  Other document that requires a declaration

       I declare under penalty of perjury that the foregoing is true and correct.

        Executed on          October 19, 2021                        X /s/ Nathan S. Brown
                                                                       Signature of individual signing on behalf of debtor

                                                                       Nathan S. Brown
                                                                       Printed name

                                                                       CEO
                                                                       Position or relationship to debtor




Official Form 202                                             Declaration Under Penalty of Perjury for Non-Individual Debtors
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                        Best Case Bankruptcy
                    Case 21-51160-tnw                      Doc 1       Filed 10/19/21 Entered 10/19/21 15:21:42                                        Desc Main
                                                                       Document     Page 9 of 61

 Fill in this information to identify the case:
 Debtor name Old World Timber, LLC
 United States Bankruptcy Court for the: EASTERN DISTRICT OF                                                                                          Check if this is an
                                                KENTUCKY
 Case number (if known):                                                                                                                              amended filing




Official Form 204
Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and
Are Not Insiders                                                                           12/15

A list of creditors holding the 20 largest unsecured claims must be filed in a Chapter 11 or Chapter 9 case. Include claims which the
debtor disputes. Do not include claims by any person or entity who is an insider, as defined in 11 U.S.C. § 101(31). Also, do not
include claims by secured creditors, unless the unsecured claim resulting from inadequate collateral value places the creditor
among the holders of the 20 largest unsecured claims.

 Name of creditor and      Name, telephone number Nature of claim                        Indicate if claim   Amount of claim
 complete mailing address, and email address of   (for example, trade                     is contingent,     If the claim is fully unsecured, fill in only unsecured claim amount. If
 including zip code        creditor contact       debts, bank loans,                     unliquidated, or    claim is partially secured, fill in total claim amount and deduction for
                                                  professional services,                     disputed        value of collateral or setoff to calculate unsecured claim.
                                                  and government                                             Total claim, if            Deduction for value        Unsecured claim
                                                  contracts)                                                 partially secured          of collateral or setoff
 Advance Lexington                                               temporary staff                                                                                            $5,144.38
 PO Box 1050
 Lexington, KY
 BB&T                                                                                                                                                                       $6,242.22
 BB&T Item
 Processing Center
 PO Box 580050
 Charlotte, NC
 BPM Lumber, LLC                                                 Supplier                                                                                                   $5,449.80
 1256 Manchester
 Street
 Lexington, KY 40504
 Central Kentucky                                                waste disposal                                                                                             $3,237.79
 Hauling
 604 Bizzell Dr
 Ste 250
 Lexington, KY
 Emo Trans Inc                                                   freight                                                                                                    $5,988.00
 377 Oak St Ste 202
 Garden City, NY
 FoShan BoRen                                                    Alleged                Disputed                                                                        $776,980.03
 Trading Co. Ltd.                                                counterfeit N95
 No. 88, Tianhe                                                  mask inventory
 District
 Guangzhou,
 Guangdong, China
 Journey Pallets,                                                pallets                                                                                                    $4,603.75
 LLC
 103 Steelman Ave
 Highland Heights,
 KY
 Kartash Inc.                                                                                                                                                               $4,475.00
 77 Sands Street
 Brooklyn, NY 11201
 Lakeside                                                        Supplier                                                                                                 $46,115.00
 Woodworks (ky)
 214 Lakeside Drive
 Georgetown, KY

Official form 204                                Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured claims                                 page 1

Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                            Best Case Bankruptcy
                    Case 21-51160-tnw                      Doc 1       Filed 10/19/21 Entered 10/19/21 15:21:42                                        Desc Main
                                                                      Document      Page 10 of 61


 Debtor    Old World Timber, LLC                                                                              Case number (if known)
           Name

 Name of creditor and      Name, telephone number Nature of claim                        Indicate if claim   Amount of claim
 complete mailing address, and email address of   (for example, trade                     is contingent,     If the claim is fully unsecured, fill in only unsecured claim amount. If
 including zip code        creditor contact       debts, bank loans,                     unliquidated, or    claim is partially secured, fill in total claim amount and deduction for
                                                  professional services,                     disputed        value of collateral or setoff to calculate unsecured claim.
                                                  and government                                             Total claim, if            Deduction for value        Unsecured claim
                                                  contracts)                                                 partially secured          of collateral or setoff
 Longship                                                                                                                                                                   $4,000.00
 PO Box 2220
 Lexington, KY 40588
 Nathan Brown                                                    Shareholder loan                                                                                       $218,974.79
 368 Merino Street                                               balance and
 Lexington, KY 40508                                             accrued interest
                                                                 payments on
                                                                 same
 Olde Globe Wood                                                 supplier                                                                                                 $18,000.00
 Company LLC
 261 School Ave
 Suite 240
 Excelsior, MN
 SM Storage, LLC                                                 rent for storage                                                                                           $7,580.00
 Alvin Haynes                                                    space
 1229 Versailles Rd
 Lexington, KY
 South Central Bank                                              PPP loan                                                                                                 $14,066.57
 2000 Warrington
 Way
 #200
 Louisville, KY 40222
 Triple B Enterprises                                            supplier                                                                                                   $9,972.50
 6206 Ganges Five
 Points Rd
 Shiloh, OH
 Truist Bank, Inc.                                               Goods, software                                     $10,732.25                        $0.00              $10,732.25
 214 North Tryon                                                 and equipment
 Street                                                          financed by
 Charlotte, NC 28202                                             secured party -
                                                                 collectively "CEC
                                                                 Financed Goods"
 Truist Bank, Inc.                                               All inventory,                                     $174,103.25                        $0.00            $174,103.25
 214 North Tryon                                                 equipment and
 Street                                                          accounts
 Charlotte, NC 28202
 U.S. Small Business                                             All tangible and                                   $499,900.00                        $0.00            $499,900.00
 Administration                                                  intangible
 2 International Plaza                                           personal property
 Suite 500
 Nashville, TN 37217
 WesBanco Bank,                                                  2019 Ford F450                                      $40,174.64                        $0.00              $40,174.64
 Inc.
 400 E. Vine Street
 Lexington, KY 40507




Official form 204                                Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured claims                                 page 2

Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                            Best Case Bankruptcy
                    Case 21-51160-tnw                      Doc 1      Filed 10/19/21 Entered 10/19/21 15:21:42                                         Desc Main
                                                                     Document      Page 11 of 61


 Debtor    Old World Timber, LLC                                                                              Case number (if known)
           Name

 Name of creditor and      Name, telephone number Nature of claim                        Indicate if claim   Amount of claim
 complete mailing address, and email address of   (for example, trade                     is contingent,     If the claim is fully unsecured, fill in only unsecured claim amount. If
 including zip code        creditor contact       debts, bank loans,                     unliquidated, or    claim is partially secured, fill in total claim amount and deduction for
                                                  professional services,                     disputed        value of collateral or setoff to calculate unsecured claim.
                                                  and government                                             Total claim, if            Deduction for value        Unsecured claim
                                                  contracts)                                                 partially secured          of collateral or setoff
 WesBanco Bank,                                                  Purchase Money                                      $28,063.03                        $0.00              $28,063.03
 Inc.                                                            Security Interest
 400 E. Vine Street                                              in equipment -
 Lexington, KY 40507                                             2016 Viking End
                                                                 Matcher &
                                                                 Defecting Down
                                                                 Cut Saw Model #
                                                                 EM355XL, Serial #
                                                                 25988.00




Official form 204                                Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured claims                                 page 3

Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                            Best Case Bankruptcy
              Case 21-51160-tnw                                  Doc 1             Filed 10/19/21 Entered 10/19/21 15:21:42                                                            Desc Main
                                                                                  Document      Page 12 of 61
 Fill in this information to identify the case:

 Debtor name            Old World Timber, LLC

 United States Bankruptcy Court for the:                       EASTERN DISTRICT OF KENTUCKY

 Case number (if known)
                                                                                                                                                                                       Check if this is an
                                                                                                                                                                                       amended filing



Official Form 206Sum
Summary of Assets and Liabilities for Non-Individuals                                                                                                                                                   12/15

 Part 1:      Summary of Assets


 1.    Schedule A/B: Assets-Real and Personal Property (Official Form 206A/B)

       1a. Real property:
           Copy line 88 from Schedule A/B.............................................................................................................................                  $                    0.00

       1b. Total personal property:
           Copy line 91A from Schedule A/B.........................................................................................................................                     $        1,938,717.85

       1c. Total of all property:
           Copy line 92 from Schedule A/B...........................................................................................................................                    $        1,938,717.85


 Part 2:      Summary of Liabilities


 2.    Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
       Copy the total dollar amount listed in Column A, Amount of claim, from line 3 of Schedule D....................................                                                  $           752,973.17


 3.    Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)

       3a. Total claim amounts of priority unsecured claims:
           Copy the total claims from Part 1 from line 5a of Schedule E/F..........................................................................                                     $                    0.00

       3b. Total amount of claims of nonpriority amount of unsecured claims:
           Copy the total of the amount of claims from Part 2 from line 5b of Schedule E/F................................................                                             +$        1,148,428.37


 4.    Total liabilities .......................................................................................................................................................
       Lines 2 + 3a + 3b                                                                                                                                                           $           1,901,401.54




 Official Form 206Sum                                              Summary of Assets and Liabilities for Non-Individuals                                                                                 page 1
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                                                          Best Case Bankruptcy
             Case 21-51160-tnw                        Doc 1           Filed 10/19/21 Entered 10/19/21 15:21:42                      Desc Main
                                                                     Document      Page 13 of 61
 Fill in this information to identify the case:

 Debtor name         Old World Timber, LLC

 United States Bankruptcy Court for the:            EASTERN DISTRICT OF KENTUCKY

 Case number (if known)
                                                                                                                                    Check if this is an
                                                                                                                                    amended filing



Official Form 206A/B
Schedule A/B: Assets - Real and Personal Property                                                                                                   12/15
Disclose all property, real and personal, which the debtor owns or in which the debtor has any other legal, equitable, or future interest.
Include all property in which the debtor holds rights and powers exercisable for the debtor's own benefit. Also include assets and properties
which have no book value, such as fully depreciated assets or assets that were not capitalized. In Schedule A/B, list any executory contracts
or unexpired leases. Also list them on Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G).

Be as complete and accurate as possible. If more space is needed, attach a separate sheet to this form. At the top of any pages added, write
the debtor’s name and case number (if known). Also identify the form and line number to which the additional information applies. If an
additional sheet is attached, include the amounts from the attachment in the total for the pertinent part.

 For Part 1 through Part 11, list each asset under the appropriate category or attach separate supporting schedules, such as a fixed asset
 schedule or depreciation schedule, that gives the details for each asset in a particular category. List each asset only once. In valuing the
 debtor’s interest, do not deduct the value of secured claims. See the instructions to understand the terms used in this form.
 Part 1:      Cash and cash equivalents
1. Does the debtor have any cash or cash equivalents?

        No. Go to Part 2.
         Yes Fill in the information below.
      All cash or cash equivalents owned or controlled by the debtor                                                                Current value of
                                                                                                                                    debtor's interest

 3.        Checking, savings, money market, or financial brokerage accounts (Identify all)
           Name of institution (bank or brokerage firm)         Type of account                          Last 4 digits of account
                                                                                                         number


           3.1.    BB&T / Truist                                            Deposit Account              8040                                    $28,961.80




           3.2.    BB&T / Truist                                            Payroll Account              2702                                     $5,668.39




           3.3.    BB&T / Truist                                            Materials Account            2966                                     $5,971.09




           3.4.    BB&T / Truist                                            Bill Pay Account             2974                                    $20,352.70




           3.5.    South Central Bank                                       Bill Pay Account             5375                                       $637.00




           3.6.    Chase Bank                                               Deposit Account              8161                                    $12,288.33




           3.7.    Chase Bank                                               Bill Pay Account             9328                                     $1,761.15

Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                                            page 1
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                           Best Case Bankruptcy
             Case 21-51160-tnw                        Doc 1            Filed 10/19/21 Entered 10/19/21 15:21:42                  Desc Main
                                                                      Document      Page 14 of 61
 Debtor           Old World Timber, LLC                                                             Case number (If known)
                  Name




           3.8.     Chase Bank                                                   Zero Balance Account             7086                           $0.00




           3.9.     Wesbanco                                                     Deposit Account                  2848                   $99,687.32



           3.10
           .    Wesbanco                                                         Bill Pay Account                 1093                   $30,314.04



 4.        Other cash equivalents (Identify all)

 5.        Total of Part 1.                                                                                                          $205,641.82
           Add lines 2 through 4 (including amounts on any additional sheets). Copy the total to line 80.

 Part 2:          Deposits and Prepayments
6. Does the debtor have any deposits or prepayments?

        No. Go to Part 3.
        Yes Fill in the information below.


 Part 3:          Accounts receivable
10. Does the debtor have any accounts receivable?

        No. Go to Part 4.
        Yes Fill in the information below.

 11.       Accounts receivable
           11a. 90 days old or less:                                 56,228.81    -                                0.00 = ....           $56,228.81
                                              face amount                             doubtful or uncollectible accounts




           11b. Over 90 days old:                               168,842.35        -                               0.00 =....           $168,842.35
                                              face amount                             doubtful or uncollectible accounts



 12.       Total of Part 3.                                                                                                          $225,071.16
           Current value on lines 11a + 11b = line 12. Copy the total to line 82.

 Part 4:          Investments
13. Does the debtor own any investments?

        No. Go to Part 5.
        Yes Fill in the information below.


 Part 5:          Inventory, excluding agriculture assets
18. Does the debtor own any inventory (excluding agriculture assets)?

        No. Go to Part 6.
        Yes Fill in the information below.



Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                                  page 2
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                    Best Case Bankruptcy
             Case 21-51160-tnw                        Doc 1           Filed 10/19/21 Entered 10/19/21 15:21:42                  Desc Main
                                                                     Document      Page 15 of 61
 Debtor         Old World Timber, LLC                                                            Case number (If known)
                Name

           General description                        Date of the last           Net book value of      Valuation method used    Current value of
                                                      physical inventory         debtor's interest      for current value        debtor's interest
                                                                                 (Where available)

 19.       Raw materials
           Barnwood                                                                            $0.00                                      $597,299.67



 20.       Work in progress
           Various work in product
           orders                                                                              $0.00                                       $72,120.00



 21.       Finished goods, including goods held for resale
           Barndoors, flooring,
           beams, wallboard,
           custom projects                                                                     $0.00                                      $169,840.20



 22.       Other inventory or supplies

 23.       Total of Part 5.                                                                                                           $839,259.87
           Add lines 19 through 22. Copy the total to line 84.

 24.       Is any of the property listed in Part 5 perishable?
               No
               Yes

 25.       Has any of the property listed in Part 5 been purchased within 20 days before the bankruptcy was filed?
               No
               Yes. Book value                                       Valuation method                        Current Value

 26.       Has any of the property listed in Part 5 been appraised by a professional within the last year?
               No
               Yes

 Part 6:        Farming and fishing-related assets (other than titled motor vehicles and land)
27. Does the debtor own or lease any farming and fishing-related assets (other than titled motor vehicles and land)?

        No. Go to Part 7.
        Yes Fill in the information below.


 Part 7:        Office furniture, fixtures, and equipment; and collectibles
38. Does the debtor own or lease any office furniture, fixtures, equipment, or collectibles?

        No. Go to Part 8.
        Yes Fill in the information below.


 Part 8:        Machinery, equipment, and vehicles
46. Does the debtor own or lease any machinery, equipment, or vehicles?

        No. Go to Part 9.
        Yes Fill in the information below.

           General description                                                   Net book value of      Valuation method used    Current value of
           Include year, make, model, and identification numbers                 debtor's interest      for current value        debtor's interest
           (i.e., VIN, HIN, or N-number)                                         (Where available)


Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                                    page 3
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                      Best Case Bankruptcy
             Case 21-51160-tnw                        Doc 1           Filed 10/19/21 Entered 10/19/21 15:21:42                 Desc Main
                                                                     Document      Page 16 of 61
 Debtor         Old World Timber, LLC                                                         Case number (If known)
                Name

 47.        Automobiles, vans, trucks, motorcycles, trailers, and titled farm vehicles


 48.        Watercraft, trailers, motors, and related accessories Examples: Boats, trailers, motors,
            floating homes, personal watercraft, and fishing vessels

 49.        Aircraft and accessories


 50.        Other machinery, fixtures, and equipment (excluding farm
            machinery and equipment)
            All machinery and equipment (see detailed
            depreciation scheduled - attached)                                              $0.00                                        $668,745.00




 51.        Total of Part 8.                                                                                                         $668,745.00
            Add lines 47 through 50. Copy the total to line 87.

 52.        Is a depreciation schedule available for any of the property listed in Part 8?
               No
               Yes

 53.        Has any of the property listed in Part 8 been appraised by a professional within the last year?
               No
               Yes

 Part 9:        Real property
54. Does the debtor own or lease any real property?

        No. Go to Part 10.
        Yes Fill in the information below.

 55.        Any building, other improved real estate, or land which the debtor owns or in which the debtor has an interest

            Description and location of                   Nature and          Net book value of        Valuation method used   Current value of
            property                                      extent of           debtor's interest        for current value       debtor's interest
            Include street address or other               debtor's interest   (Where available)
            description such as Assessor                  in property
            Parcel Number (APN), and type
            of property (for example,
            acreage, factory, warehouse,
            apartment or office building, if
            available.
            55.1.
                     1195 Versailles Road
                     Lexington, KY 40508                  Leasehold                         $0.00                                           Unknown




 56.        Total of Part 9.                                                                                                                   $0.00
            Add the current value on lines 55.1 through 55.6 and entries from any additional sheets.
            Copy the total to line 88.

 57.        Is a depreciation schedule available for any of the property listed in Part 9?
               No
               Yes

 58.        Has any of the property listed in Part 9 been appraised by a professional within the last year?
               No
               Yes

 Part 10:       Intangibles and intellectual property

Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                                     page 4
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                     Best Case Bankruptcy
             Case 21-51160-tnw                        Doc 1           Filed 10/19/21 Entered 10/19/21 15:21:42               Desc Main
                                                                     Document      Page 17 of 61
 Debtor         Old World Timber, LLC                                                         Case number (If known)
                Name

59. Does the debtor have any interests in intangibles or intellectual property?

        No. Go to Part 11.
        Yes Fill in the information below.

            General description                                               Net book value of      Valuation method used    Current value of
                                                                              debtor's interest      for current value        debtor's interest
                                                                              (Where available)

 60.        Patents, copyrights, trademarks, and trade secrets

 61.        Internet domain names and websites
            www.oldworldtimber.com                                                          $0.00                                               $0.00



 62.        Licenses, franchises, and royalties

 63.        Customer lists, mailing lists, or other compilations
            Customer list and mailing list                                                  $0.00                                               $0.00



 64.        Other intangibles, or intellectual property

 65.        Goodwill

 66.        Total of Part 10.                                                                                                                $0.00
            Add lines 60 through 65. Copy the total to line 89.

 67.        Do your lists or records include personally identifiable information of customers (as defined in 11 U.S.C.§§ 101(41A) and 107?
               No
               Yes

 68.        Is there an amortization or other similar schedule available for any of the property listed in Part 10?
               No
               Yes

 69.        Has any of the property listed in Part 10 been appraised by a professional within the last year?
               No
               Yes

 Part 11:       All other assets
70. Does the debtor own any other assets that have not yet been reported on this form?
    Include all interests in executory contracts and unexpired leases not previously reported on this form.

        No. Go to Part 12.
        Yes Fill in the information below.




Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                                 page 5
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                   Best Case Bankruptcy
              Case 21-51160-tnw                           Doc 1           Filed 10/19/21 Entered 10/19/21 15:21:42                                        Desc Main
                                                                         Document      Page 18 of 61
 Debtor          Old World Timber, LLC                                                                               Case number (If known)
                 Name



 Part 12:        Summary

In Part 12 copy all of the totals from the earlier parts of the form
      Type of property                                                                               Current value of                    Current value of real
                                                                                                     personal property                   property

 80. Cash, cash equivalents, and financial assets.
     Copy line 5, Part 1                                                                                          $205,641.82

 81. Deposits and prepayments. Copy line 9, Part 2.                                                                          $0.00

 82. Accounts receivable. Copy line 12, Part 3.                                                                   $225,071.16

 83. Investments. Copy line 17, Part 4.                                                                                      $0.00

 84. Inventory. Copy line 23, Part 5.                                                                             $839,259.87

 85. Farming and fishing-related assets. Copy line 33, Part 6.                                                               $0.00

 86. Office furniture, fixtures, and equipment; and collectibles.
     Copy line 43, Part 7.                                                                                                   $0.00

 87. Machinery, equipment, and vehicles. Copy line 51, Part 8.                                                    $668,745.00

 88. Real property. Copy line 56, Part 9.........................................................................................>                                $0.00

 89. Intangibles and intellectual property. Copy line 66, Part 10.                                                           $0.00

 90. All other assets. Copy line 78, Part 11.                                                    +                           $0.00

 91. Total. Add lines 80 through 90 for each column                                                         $1,938,717.85            + 91b.                      $0.00


 92. Total of all property on Schedule A/B. Add lines 91a+91b=92                                                                                                 $1,938,717.85




Official Form 206A/B                                               Schedule A/B Assets - Real and Personal Property                                                           page 6
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                                  Best Case Bankruptcy
Case 21-51160-tnw   Doc 1    Filed 10/19/21 Entered 10/19/21 15:21:42   Desc Main
                            Document      Page 19 of 61
Case 21-51160-tnw   Doc 1    Filed 10/19/21 Entered 10/19/21 15:21:42   Desc Main
                            Document      Page 20 of 61
Case 21-51160-tnw   Doc 1    Filed 10/19/21 Entered 10/19/21 15:21:42   Desc Main
                            Document      Page 21 of 61
Case 21-51160-tnw   Doc 1    Filed 10/19/21 Entered 10/19/21 15:21:42   Desc Main
                            Document      Page 22 of 61
Case 21-51160-tnw   Doc 1    Filed 10/19/21 Entered 10/19/21 15:21:42   Desc Main
                            Document      Page 23 of 61
Case 21-51160-tnw   Doc 1    Filed 10/19/21 Entered 10/19/21 15:21:42   Desc Main
                            Document      Page 24 of 61
             Case 21-51160-tnw                        Doc 1           Filed 10/19/21 Entered 10/19/21 15:21:42                                Desc Main
                                                                     Document      Page 25 of 61
 Fill in this information to identify the case:

 Debtor name         Old World Timber, LLC

 United States Bankruptcy Court for the:            EASTERN DISTRICT OF KENTUCKY

 Case number (if known)
                                                                                                                                              Check if this is an
                                                                                                                                              amended filing

Official Form 206D
Schedule D: Creditors Who Have Claims Secured by Property                                                                                                     12/15
Be as complete and accurate as possible.
1. Do any creditors have claims secured by debtor's property?
         No. Check this box and submit page 1 of this form to the court with debtor's other schedules. Debtor has nothing else to report on this form.
         Yes. Fill in all of the information below.
 Part 1:      List Creditors Who Have Secured Claims
                                                                                                                    Column A                    Column B
 2. List in alphabetical order all creditors who have secured claims. If a creditor has more than one secured
 claim, list the creditor separately for each claim.                                                                Amount of claim             Value of collateral
                                                                                                                                                that supports this
                                                                                                                    Do not deduct the value     claim
                                                                                                                    of collateral.
       Crown Equipment
 2.1                                                                                                                                $0.00                    $0.00
       Corporation                                    Describe debtor's property that is subject to a lien
       Creditor's Name                                Equipment lease
       44 S. Washington Street
       New Bremen, OH 45869
       Creditor's mailing address                     Describe the lien
                                                      UCC Financing Statement
                                                      Is the creditor an insider or related party?
                                                         No
       Creditor's email address, if known                 Yes
                                                      Is anyone else liable on this claim?
       Date debt was incurred                            No
       10/2/2017                                         Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number

       Do multiple creditors have an                  As of the petition filing date, the claim is:
       interest in the same property?                 Check all that apply
           No                                            Contingent
           Yes. Specify each creditor,                   Unliquidated
       including this creditor and its relative          Disputed
       priority.



 2.2   Truist Bank, Inc.                              Describe debtor's property that is subject to a lien                 $174,103.25                       $0.00
       Creditor's Name                                All inventory, equipment and accounts
       214 North Tryon Street
       Charlotte, NC 28202
       Creditor's mailing address                     Describe the lien
                                                      UCC Financing Statement
                                                      Is the creditor an insider or related party?
                                                         No
       Creditor's email address, if known                 Yes
                                                      Is anyone else liable on this claim?
       Date debt was incurred                            No
       8/2/2018                                          Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number

       Do multiple creditors have an                  As of the petition filing date, the claim is:
       interest in the same property?                 Check all that apply



Official Form 206D                                Schedule D: Creditors Who Have Claims Secured by Property                                                  page 1 of 4
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                     Best Case Bankruptcy
             Case 21-51160-tnw                        Doc 1           Filed 10/19/21 Entered 10/19/21 15:21:42                               Desc Main
                                                                     Document      Page 26 of 61
 Debtor       Old World Timber, LLC                                                                   Case number (if known)
              Name

           No                                            Contingent
           Yes. Specify each creditor,                   Unliquidated
       including this creditor and its relative          Disputed
       priority.



 2.3   Truist Bank, Inc.                              Describe debtor's property that is subject to a lien                      $10,732.25              $0.00
       Creditor's Name                                Goods, software and equipment financed by
                                                      secured party - collectively "CEC Financed
       214 North Tryon Street                         Goods"
       Charlotte, NC 28202
       Creditor's mailing address                     Describe the lien
                                                      UCC Financing Statement
                                                      Is the creditor an insider or related party?
                                                         No
       Creditor's email address, if known                 Yes
                                                      Is anyone else liable on this claim?
       Date debt was incurred                            No
       11/14/2019                                        Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number

       Do multiple creditors have an                  As of the petition filing date, the claim is:
       interest in the same property?                 Check all that apply
           No                                            Contingent
           Yes. Specify each creditor,                   Unliquidated
       including this creditor and its relative          Disputed
       priority.



       U.S. Small Business
 2.4                                                  Describe debtor's property that is subject to a lien                     $499,900.00              $0.00
       Administration
       Creditor's Name                                All tangible and intangible personal property
       2 International Plaza
       Suite 500
       Nashville, TN 37217
       Creditor's mailing address                     Describe the lien
                                                      UCC Financing Statement
                                                      Is the creditor an insider or related party?
                                                         No
       Creditor's email address, if known                 Yes
                                                      Is anyone else liable on this claim?
       Date debt was incurred                            No
       5/29/2020                                         Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number

       Do multiple creditors have an                  As of the petition filing date, the claim is:
       interest in the same property?                 Check all that apply
           No                                            Contingent
           Yes. Specify each creditor,                   Unliquidated
       including this creditor and its relative          Disputed
       priority.



 2.5   WesBanco Bank, Inc.                            Describe debtor's property that is subject to a lien                      $28,063.03              $0.00
       Creditor's Name                                Purchase Money Security Interest in
                                                      equipment - 2016 Viking End Matcher &
                                                      Defecting Down Cut Saw Model # EM355XL,
       400 E. Vine Street                             Serial # 25988.00
       Lexington, KY 40507
       Creditor's mailing address                     Describe the lien
                                                      UCC Financing Statement


Official Form 206D                     Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                     page 2 of 4
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                Best Case Bankruptcy
             Case 21-51160-tnw                        Doc 1           Filed 10/19/21 Entered 10/19/21 15:21:42                               Desc Main
                                                                     Document      Page 27 of 61
 Debtor       Old World Timber, LLC                                                                   Case number (if known)
              Name

                                                      Is the creditor an insider or related party?
                                                         No
        Creditor's email address, if known                Yes
                                                      Is anyone else liable on this claim?
        Date debt was incurred                           No
        2/25/2021                                        Yes. Fill out Schedule H: Codebtors (Official Form 206H)
        Last 4 digits of account number

        Do multiple creditors have an                 As of the petition filing date, the claim is:
        interest in the same property?                Check all that apply
            No                                           Contingent
            Yes. Specify each creditor,                  Unliquidated
        including this creditor and its relative         Disputed
        priority.



 2.6    WesBanco Bank, Inc.                           Describe debtor's property that is subject to a lien                      $40,174.64                 $0.00
        Creditor's Name                               2019 Ford F450
        400 E. Vine Street
        Lexington, KY 40507
        Creditor's mailing address                    Describe the lien
                                                      vehicle
                                                      Is the creditor an insider or related party?
                                                         No
        Creditor's email address, if known                Yes
                                                      Is anyone else liable on this claim?
        Date debt was incurred                           No
                                                         Yes. Fill out Schedule H: Codebtors (Official Form 206H)
        Last 4 digits of account number

        Do multiple creditors have an                 As of the petition filing date, the claim is:
        interest in the same property?                Check all that apply
            No                                           Contingent
            Yes. Specify each creditor,                  Unliquidated
        including this creditor and its relative         Disputed
        priority.



 3.    Total of the dollar amounts from Part 1, Column A, including the amounts from the Additional Page, if any.              $752,973.17

 Part 2:     List Others to Be Notified for a Debt Already Listed in Part 1
 List in alphabetical order any others who must be notified for a debt already listed in Part 1. Examples of entities that may be listed are collection agencies,
 assignees of claims listed above, and attorneys for secured creditors.

 If no others need to notified for the debts listed in Part 1, do not fill out or submit this page. If additional pages are needed, copy this page.
         Name and address                                                                                      On which line in Part 1 did       Last 4 digits of
                                                                                                               you enter the related creditor?   account number for
                                                                                                                                                 this entity
         CT Lien Solutions
         P.O. Box 29071                                                                                         Line   2.1
         Glendale, CA 91209-9071

         Mike Brodarick
         Lloyd & McDaniel                                                                                       Line   2.2
         700 N. Hurstbourne Pkwy
         Louisville, KY 40222

         Mike Brodarick
         Lloyd & McDaniel                                                                                       Line   2.3
         700 N. Hurstbourne Pkwy
         Louisville, KY 40222



Official Form 206D                      Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                       page 3 of 4
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                   Best Case Bankruptcy
             Case 21-51160-tnw                        Doc 1           Filed 10/19/21 Entered 10/19/21 15:21:42      Desc Main
                                                                     Document      Page 28 of 61
 Debtor       Old World Timber, LLC                                                      Case number (if known)
              Name

        The Huntington National Bank
        PO Box 77077                                                                             Line   2.3
        Minneapolis, MN 55480-7777




Official Form 206D                   Additional Page of Schedule D: Creditors Who Have Claims Secured by Property              page 4 of 4
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                       Best Case Bankruptcy
             Case 21-51160-tnw                        Doc 1           Filed 10/19/21 Entered 10/19/21 15:21:42                                     Desc Main
                                                                     Document      Page 29 of 61
 Fill in this information to identify the case:

 Debtor name         Old World Timber, LLC

 United States Bankruptcy Court for the:            EASTERN DISTRICT OF KENTUCKY

 Case number (if known)
                                                                                                                                                   Check if this is an
                                                                                                                                                   amended filing


Official Form 206E/F
Schedule E/F: Creditors Who Have Unsecured Claims                                                                                                                  12/15
Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY unsecured claims and Part 2 for creditors with NONPRIORITY unsecured claims.
List the other party to any executory contracts or unexpired leases that could result in a claim. Also list executory contracts on Schedule A/B: Assets - Real and
Personal Property (Official Form 206A/B) and on Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G). Number the entries in Parts 1 and
2 in the boxes on the left. If more space is needed for Part 1 or Part 2, fill out and attach the Additional Page of that Part included in this form.

 Part 1:      List All Creditors with PRIORITY Unsecured Claims

       1. Do any creditors have priority unsecured claims? (See 11 U.S.C. § 507).

             No. Go to Part 2.

             Yes. Go to line 2.


 Part 2:      List All Creditors with NONPRIORITY Unsecured Claims
       3. List in alphabetical order all of the creditors with nonpriority unsecured claims. If the debtor has more than 6 creditors with nonpriority unsecured claims, fill
          out and attach the Additional Page of Part 2.
                                                                                                                                                      Amount of claim

 3.1       Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.                 Unknown
           3M Company                                                           Contingent
           3M Center                                                            Unliquidated
           2501 Hudson Road
           Saint Paul, MN 55144                                                 Disputed

           Date(s) debt was incurred                                         Basis for the claim:

           Last 4 digits of account number                                   Is the claim subject to offset?       No     Yes

 3.2       Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.                 $5,144.38
           Advance Lexington                                                    Contingent
           PO Box 1050                                                          Unliquidated
           Lexington, KY                                                        Disputed
           Date(s) debt was incurred
                                                                             Basis for the claim:    temporary staff
           Last 4 digits of account number
                                                                             Is the claim subject to offset?       No     Yes

 3.3       Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.                 $1,474.20
           AmeriGas Propane, L.P.                                               Contingent
           PO Box 371473                                                        Unliquidated
           Pittsburgh, PA                                                       Disputed
           Date(s) debt was incurred
                                                                             Basis for the claim:    utilities
           Last 4 digits of account number      0755
                                                                             Is the claim subject to offset?       No     Yes

 3.4       Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.                 $1,891.72
           Anthem Blue Cross Blue Shield                                        Contingent
           PO Box 4445                                                          Unliquidated
           Atlanta, GA                                                          Disputed
           Date(s) debt was incurred
                                                                             Basis for the claim:    insurance
           Last 4 digits of account number      M001
                                                                             Is the claim subject to offset?       No     Yes




Official Form 206E/F                                          Schedule E/F: Creditors Who Have Unsecured Claims                                                     page 1 of 7
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                         53128                                            Best Case Bankruptcy
             Case 21-51160-tnw                        Doc 1           Filed 10/19/21 Entered 10/19/21 15:21:42                                     Desc Main
                                                                     Document      Page 30 of 61
 Debtor       Old World Timber, LLC                                                                   Case number (if known)
              Name

 3.5      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $122.21
          Averitt Express                                                       Contingent
          PO Box 102197                                                         Unliquidated
          Atlanta, GA                                                           Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    freight
          Last 4 digits of account number       8995
                                                                             Is the claim subject to offset?     No       Yes

 3.6      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                 $34.20
          B & B Saw and Tool                                                    Contingent
          115 Front Street                                                      Unliquidated
          Mt. Orab, OH                                                          Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    vendor
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.7      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $302.00
          Baptist Health Medical Group                                          Contingent
          PO Box 734839                                                         Unliquidated
          Chicago, IL 60673                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.8      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $6,242.22
          BB&T                                                                  Contingent
          BB&T Item Processing Center                                           Unliquidated
          PO Box 580050                                                         Disputed
          Charlotte, NC
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number       3700                         Is the claim subject to offset?     No       Yes


 3.9      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $5,449.80
          BPM Lumber, LLC                                                       Contingent
          1256 Manchester Street                                                Unliquidated
          Lexington, KY 40504                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Supplier
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.10     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $373.97
          Byline Finance Group                                                  Contingent
          2801 Lakeside Drive                                                   Unliquidated
          212                                                                   Disputed
          Deerfield, IL 60015
                                                                             Basis for the claim:    Equipment lease
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.11     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $3,237.79
          Central Kentucky Hauling                                              Contingent
          604 Bizzell Dr                                                        Unliquidated
          Ste 250                                                               Disputed
          Lexington, KY
                                                                             Basis for the claim:    waste disposal
          Date(s) debt was incurred
          Last 4 digits of account number       7890                         Is the claim subject to offset?     No       Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 2 of 7
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
             Case 21-51160-tnw                        Doc 1           Filed 10/19/21 Entered 10/19/21 15:21:42                                     Desc Main
                                                                     Document      Page 31 of 61
 Debtor       Old World Timber, LLC                                                                   Case number (if known)
              Name

 3.12     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $2,486.00
          ClearPath Mutual Insurance Co.                                        Contingent
          P.O. Box 32160                                                        Unliquidated
          Louisville, KY                                                        Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    insurance
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.13     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $144.41
          Columbia Gas of Kentucky                                              Contingent
          PO BOX 4660                                                           Unliquidated
          Carol Stream, IL                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    utilities
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.14     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $681.80
          Crown Credit                                                          Contingent
          PO Box 640352                                                         Unliquidated
          Cincinnati, OH 45264-0352                                             Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Equipment lease
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.15     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $2,500.00
          Danny Landers                                                         Contingent
          120 Frank Stanton Rd                                                  Unliquidated
          Limestone, TN                                                         Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    supplier
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.16     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $5,988.00
          Emo Trans Inc                                                         Contingent
          377 Oak St Ste 202                                                    Unliquidated
          Garden City, NY                                                       Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    freight
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.17     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $855.91
          Estes Express Lines                                                   Contingent
          PO Box 105160                                                         Unliquidated
          Atlanta, GA                                                           Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    freight
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.18     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.         $776,980.03
          FoShan BoRen Trading Co. Ltd.                                         Contingent
          No. 88, Tianhe District                                               Unliquidated
          Guangzhou, Guangdong, China
                                                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Alleged counterfeit N95 mask inventory
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 3 of 7
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
             Case 21-51160-tnw                        Doc 1           Filed 10/19/21 Entered 10/19/21 15:21:42                                     Desc Main
                                                                     Document      Page 32 of 61
 Debtor       Old World Timber, LLC                                                                   Case number (if known)
              Name

 3.19     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $1,500.00
          Haynes Properties                                                     Contingent
          Alvin Haynes                                                          Unliquidated
          1229 Versailles Rd                                                    Disputed
          Lexington, KY
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.20     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $2,520.00
          Jeff Foster Trucking, Inc.                                            Contingent
          PO Box 367                                                            Unliquidated
          Superior, WI 54880                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    freight
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.21     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $4,603.75
          Journey Pallets, LLC                                                  Contingent
          103 Steelman Ave                                                      Unliquidated
          Highland Heights, KY                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    pallets
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.22     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $4,475.00
          Kartash Inc.                                                          Contingent
          77 Sands Street                                                       Unliquidated
          Brooklyn, NY 11201                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.23     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $237.62
          KU                                                                    Contingent
          PO Box 25212                                                          Unliquidated
          Lehigh Valley, PA 18002                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    utilities
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.24     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $46,115.00
          Lakeside Woodworks (ky)                                               Contingent
          214 Lakeside Drive                                                    Unliquidated
          Georgetown, KY                                                        Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Supplier
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.25     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $4,000.00
          Longship                                                              Contingent
          PO Box 2220                                                           Unliquidated
          Lexington, KY 40588                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 4 of 7
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
             Case 21-51160-tnw                        Doc 1           Filed 10/19/21 Entered 10/19/21 15:21:42                                     Desc Main
                                                                     Document      Page 33 of 61
 Debtor       Old World Timber, LLC                                                                   Case number (if known)
              Name

 3.26     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                 $79.83
          Michael Weinig, Inc                                                   Contingent
          124 Crosslake Park Drive                                              Unliquidated
          P.O. Box 3158                                                         Disputed
          Mooresville, NC
                                                                             Basis for the claim:    Vendor
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.27     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                 $53.01
          MyCarrier, LLC                                                        Contingent
          15950 N 76th Street                                                   Unliquidated
          Suite 200                                                             Disputed
          Scottdale, AZ
                                                                             Basis for the claim:    freight
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.28     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.         $218,974.79
          Nathan Brown                                                          Contingent
          368 Merino Street                                                     Unliquidated
          Lexington, KY 40508                                                   Disputed
          Date(s) debt was incurred
                                                                                           Shareholder loan balance and accrued interest
                                                                             Basis for the claim:
          Last 4 digits of account number                                    payments on same
                                                                             Is the claim subject to offset?     No       Yes

 3.29     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $18,000.00
          Olde Globe Wood Company LLC                                           Contingent
          261 School Ave                                                        Unliquidated
          Suite 240                                                             Disputed
          Excelsior, MN
                                                                             Basis for the claim:    supplier
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.30     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                 $57.23
          Pelycon Technologies                                                  Contingent
          162 Old Todds Rd                                                      Unliquidated
          Suite 220                                                             Disputed
          Lexington, KY 40509
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.31     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $457.79
          SAIA Motor Freight Line, LLC                                          Contingent
          P.O. BOX 730532                                                       Unliquidated
          Dallas, TX                                                            Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    freight
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.32     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $7,580.00
          SM Storage, LLC                                                       Contingent
          Alvin Haynes                                                          Unliquidated
          1229 Versailles Rd                                                    Disputed
          Lexington, KY
                                                                             Basis for the claim:    rent for storage space
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 5 of 7
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
             Case 21-51160-tnw                        Doc 1           Filed 10/19/21 Entered 10/19/21 15:21:42                                     Desc Main
                                                                     Document      Page 34 of 61
 Debtor       Old World Timber, LLC                                                                   Case number (if known)
              Name

 3.33      Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.               $14,066.57
           South Central Bank                                                   Contingent
           2000 Warrington Way                                                  Unliquidated
           #200                                                                 Disputed
           Louisville, KY 40222
                                                                             Basis for the claim:    PPP loan
           Date(s) debt was incurred
           Last 4 digits of account number                                   Is the claim subject to offset?         No     Yes


 3.34      Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.                 $9,972.50
           Triple B Enterprises                                                 Contingent
           6206 Ganges Five Points Rd                                           Unliquidated
           Shiloh, OH                                                           Disputed
           Date(s) debt was incurred
                                                                             Basis for the claim:    supplier
           Last 4 digits of account number
                                                                             Is the claim subject to offset?         No     Yes

 3.35      Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.                   $848.28
           Uline                                                                Contingent
           Uline Accounts Receivable                                            Unliquidated
           P.O. Box 88741                                                       Disputed
           Chicago, IL
                                                                             Basis for the claim:    vendor
           Date(s) debt was incurred
           Last 4 digits of account number      8475                         Is the claim subject to offset?         No     Yes


 3.36      Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.                   $978.36
           Verizon Wireless                                                     Contingent
           PO Box 16810                                                         Unliquidated
           Newark, NJ                                                           Disputed
           Date(s) debt was incurred
                                                                             Basis for the claim:
           Last 4 digits of account number      0001
                                                                             Is the claim subject to offset?         No     Yes



 Part 3:      List Others to Be Notified About Unsecured Claims

4. List in alphabetical order any others who must be notified for claims listed in Parts 1 and 2. Examples of entities that may be listed are collection agencies,
   assignees of claims listed above, and attorneys for unsecured creditors.

   If no others need to be notified for the debts listed in Parts 1 and 2, do not fill out or submit this page. If additional pages are needed, copy the next page.

           Name and mailing address                                                                   On which line in Part1 or Part 2 is the         Last 4 digits of
                                                                                                      related creditor (if any) listed?               account number, if
                                                                                                                                                      any
 4.1       Gordon Rees Scully Mansukhani LLP
           Attn: R. Scott Norman                                                                      Line     3.1
           325 W. Main Street
                                                                                                             Not listed. Explain
           Waterfront Plaza -- West Tower Ste 2300
           Louisville, KY 40202

 4.2       Greene Espel PLLP
           Attn: Sybil L. Dunlop                                                                      Line     3.1
           222 South 9th Street, Suite 2200
                                                                                                             Not listed. Explain
           Minneapolis, MN 55402


 Part 4:      Total Amounts of the Priority and Nonpriority Unsecured Claims

5. Add the amounts of priority and nonpriority unsecured claims.
                                                                                                                          Total of claim amounts
 5a. Total claims from Part 1                                                                            5a.          $                          0.00
 5b. Total claims from Part 2                                                                            5b.    +     $                  1,148,428.37

 5c. Total of Parts 1 and 2
     Lines 5a + 5b = 5c.                                                                                 5c.          $                      1,148,428.37


Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                                    Page 6 of 7
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                          Best Case Bankruptcy
             Case 21-51160-tnw                        Doc 1           Filed 10/19/21 Entered 10/19/21 15:21:42             Desc Main
                                                                     Document      Page 35 of 61
 Debtor       Old World Timber, LLC                                                               Case number (if known)
              Name




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                        Page 7 of 7
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                              Best Case Bankruptcy
             Case 21-51160-tnw                        Doc 1           Filed 10/19/21 Entered 10/19/21 15:21:42                     Desc Main
                                                                     Document      Page 36 of 61
 Fill in this information to identify the case:

 Debtor name         Old World Timber, LLC

 United States Bankruptcy Court for the:            EASTERN DISTRICT OF KENTUCKY

 Case number (if known)
                                                                                                                                   Check if this is an
                                                                                                                                   amended filing


Official Form 206G
Schedule G: Executory Contracts and Unexpired Leases                                                                                               12/15
Be as complete and accurate as possible. If more space is needed, copy and attach the additional page, number the entries consecutively.

1.      Does the debtor have any executory contracts or unexpired leases?
          No. Check this box and file this form with the debtor's other schedules. There is nothing else to report on this form.
          Yes. Fill in all of the information below even if the contacts of leases are listed on Schedule A/B: Assets - Real and Personal          Property
(Official Form 206A/B).

 2. List all contracts and unexpired leases                                      State the name and mailing address for all other parties with
                                                                                 whom the debtor has an executory contract or unexpired
                                                                                 lease

 2.1.         State what the contract or                  Equipment lease for
              lease is for and the nature of              2015 Crown forklift
              the debtor's interest

                  State the term remaining                7/31/2027                  Byline Finance Group
                                                                                     2801 Lakeside Drive
              List the contract number of any                                        212
                    government contract                                              Deerfield, IL 60015


 2.2.         State what the contract or                  Equipment lease for lift
              lease is for and the nature of              truck
              the debtor's interest

                  State the term remaining                2/15/2025
                                                                                     Crown Credit
              List the contract number of any                                        PO Box 640352
                    government contract                                              Cincinnati, OH 45264-0352


 2.3.         State what the contract or                  Warehouses for Mill
              lease is for and the nature of              work located at 1195
              the debtor's interest                       Versailles Road,
                                                          Lexington KY.
                  State the term remaining                12/31/2023
                                                                                     Haynes Properties
              List the contract number of any                                        1229 Versailles Road
                    government contract                                              Lexington, KY 40508




Official Form 206G                               Schedule G: Executory Contracts and Unexpired Leases                                             Page 1 of 1
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                          Best Case Bankruptcy
             Case 21-51160-tnw                        Doc 1           Filed 10/19/21 Entered 10/19/21 15:21:42                 Desc Main
                                                                     Document      Page 37 of 61
 Fill in this information to identify the case:

 Debtor name         Old World Timber, LLC

 United States Bankruptcy Court for the:            EASTERN DISTRICT OF KENTUCKY

 Case number (if known)
                                                                                                                                Check if this is an
                                                                                                                                amended filing


Official Form 206H
Schedule H: Your Codebtors                                                                                                                      12/15

Be as complete and accurate as possible. If more space is needed, copy the Additional Page, numbering the entries consecutively. Attach the
Additional Page to this page.

      1. Do you have any codebtors?

    No. Check this box and submit this form to the court with the debtor's other schedules. Nothing else needs to be reported on this form.
    Yes

   2. In Column 1, list as codebtors all of the people or entities who are also liable for any debts listed by the debtor in the schedules of
      creditors, Schedules D-G. Include all guarantors and co-obligors. In Column 2, identify the creditor to whom the debt is owed and each schedule
      on which the creditor is listed. If the codebtor is liable on a debt to more than one creditor, list each creditor separately in Column 2.
            Column 1: Codebtor                                                                        Column 2: Creditor



             Name                              Mailing Address                                    Name                           Check all schedules
                                                                                                                                 that apply:

    2.1      Nathan Brown                                                                         Truist Bank, Inc.                 D   2.2
                                                                                                                                    E/F
                                                                                                                                    G




    2.2      Nathan Brown                                                                         Truist Bank, Inc.                 D   2.3
                                                                                                                                    E/F
                                                                                                                                    G




    2.3      Nathan Brown                                                                         Haynes Properties                 D
                                                                                                                                    E/F
                                                                                                                                    G   2.3




Official Form 206H                                                            Schedule H: Your Codebtors                                      Page 1 of 1
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                       Best Case Bankruptcy
             Case 21-51160-tnw                        Doc 1           Filed 10/19/21 Entered 10/19/21 15:21:42                   Desc Main
                                                                     Document      Page 38 of 61



 Fill in this information to identify the case:

 Debtor name         Old World Timber, LLC

 United States Bankruptcy Court for the:            EASTERN DISTRICT OF KENTUCKY

 Case number (if known)
                                                                                                                                 Check if this is an
                                                                                                                                 amended filing



Official Form 207
Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                                                               04/19
The debtor must answer every question. If more space is needed, attach a separate sheet to this form. On the top of any additional pages,
write the debtor’s name and case number (if known).

 Part 1:      Income

1. Gross revenue from business

           None.

       Identify the beginning and ending dates of the debtor’s fiscal year,                    Sources of revenue                Gross revenue
       which may be a calendar year                                                            Check all that apply              (before deductions and
                                                                                                                                 exclusions)

       From the beginning of the fiscal year to filing date:                                       Operating a business                   $4,446,980.00
       From 1/01/2021 to Filing Date
                                                                                                   Other


       From the beginning of the fiscal year to filing date:                                       Operating a business                        $4,187.48
       From 1/01/2021 to Filing Date                                                                        Barn roof tin
                                                                                                   Other    recycling


       From the beginning of the fiscal year to filing date:                                       Operating a business                        $2,250.00
       From 1/01/2021 to Filing Date
                                                                                                   Other    Storage fees


       From the beginning of the fiscal year to filing date:                                       Operating a business                        $6,632.14
       From 1/01/2021 to Filing Date                                                                        Adjusted cash
                                                                                                   Other    balances per CPA


       From the beginning of the fiscal year to filing date:                                       Operating a business                        $2,850.00
       From 1/01/2021 to Filing Date                                                                        Sale of GMC Safari
                                                                                                   Other    F350


       For prior year:                                                                             Operating a business                   $2,989,602.00
       From 1/01/2020 to 12/31/2020
                                                                                                   Other


       For prior year:                                                                             Operating a business                     $584,980.60
       From 1/01/2020 to 12/31/2020
                                                                                                   Other    N95 Mask Sales




Official Form 207                                   Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                           page 1
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                        Best Case Bankruptcy
              Case 21-51160-tnw                       Doc 1           Filed 10/19/21 Entered 10/19/21 15:21:42                            Desc Main
                                                                     Document      Page 39 of 61
 Debtor       Old World Timber, LLC                                                                     Case number (if known)



       Identify the beginning and ending dates of the debtor’s fiscal year,                    Sources of revenue                          Gross revenue
       which may be a calendar year                                                            Check all that apply                        (before deductions and
                                                                                                                                           exclusions)
       For prior year:                                                                             Operating a business                                 $169,455.00
       From 1/01/2020 to 12/31/2020
                                                                                                   Other    PPP Forgiveness


       For prior year:                                                                             Operating a business                                  $10,000.00
       From 1/01/2020 to 12/31/2020
                                                                                                   Other    EIDL Loan


       For prior year:                                                                             Operating a business                                   $3,033.11
       From 1/01/2020 to 12/31/2020                                                                         Chase credit card
                                                                                                   Other    cash back


       For prior year:                                                                             Operating a business                                  $38,178.00
       From 1/01/2020 to 12/31/2020                                                                         Gain/Loss on
                                                                                                   Other    Disposal of Asset


       For prior year:                                                                             Operating a business                                  $11,721.62
       From 1/01/2020 to 12/31/2020
                                                                                                   Other    Sale of forklift


       For year before that:                                                                       Operating a business                            $2,782,324.00
       From 1/01/2019 to 12/31/2019
                                                                                                   Other


       For year before that:                                                                       Operating a business                                  $49,189.60
       From 1/01/2019 to 12/31/2019                                                                         Gain/Loss on
                                                                                                   Other    Disposal of Asset

2. Non-business revenue
   Include revenue regardless of whether that revenue is taxable. Non-business income may include interest, dividends, money collected from lawsuits,
   and royalties. List each source and the gross revenue for each separately. Do not include revenue listed in line 1.

           None.

                                                                                               Description of sources of revenue           Gross revenue from
                                                                                                                                           each source
                                                                                                                                           (before deductions and
                                                                                                                                           exclusions)

 Part 2:      List Certain Transfers Made Before Filing for Bankruptcy

3. Certain payments or transfers to creditors within 90 days before filing this case
   List payments or transfers--including expense reimbursements--to any creditor, other than regular employee compensation, within 90 days before
   filing this case unless the aggregate value of all property transferred to that creditor is less than $6,825. (This amount may be adjusted on 4/01/22
   and every 3 years after that with respect to cases filed on or after the date of adjustment.)

           None.

       Creditor's Name and Address                                         Dates                 Total amount of value         Reasons for payment or transfer
                                                                                                                               Check all that apply
       3.1.
               A&M Flooring Co. Ltd                                        8/26/21                          $52,943.43           Secured debt
                                                                                                                                 Unsecured loan repayments
                                                                                                                                 Suppliers or vendors
                                                                                                                                 Services
                                                                                                                                 Other


Official Form 207                                   Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    page 2
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                  Best Case Bankruptcy
              Case 21-51160-tnw                       Doc 1           Filed 10/19/21 Entered 10/19/21 15:21:42                              Desc Main
                                                                     Document      Page 40 of 61
 Debtor       Old World Timber, LLC                                                                     Case number (if known)



       Creditor's Name and Address                                         Dates                 Total amount of value         Reasons for payment or transfer
                                                                                                                               Check all that apply
       3.2.
               American Express                                            8/5/21 -                         $25,719.67           Secured debt
                                                                           10/5/21                                               Unsecured loan repayments
                                                                                                                                 Suppliers or vendors
                                                                                                                                 Services
                                                                                                                                 Other Credit card payments


       3.3.
               Truist Bank                                                 7/22/21 -                        $29,211.48           Secured debt
                                                                           10-/1/21                                              Unsecured loan repayments
                                                                                                                                 Suppliers or vendors
                                                                                                                                 Services
                                                                                                                                 Other


       3.4.
               Bethel Barnwood                                             9/20/21 -                        $30,618.25           Secured debt
                                                                           9/23/21                                               Unsecured loan repayments
                                                                                                                                 Suppliers or vendors
                                                                                                                                 Services
                                                                                                                                 Other


       3.5.
               Billy Wigglesworth                                          7/22/21 -                          $9,150.00          Secured debt
                                                                           8/16/21                                               Unsecured loan repayments
                                                                                                                                 Suppliers or vendors
                                                                                                                                 Services
                                                                                                                                 Other


       3.6.
               BPM Lumber, LLC                                             8/4/21 -                         $44,347.50           Secured debt
                                                                           8/24/21                                               Unsecured loan repayments
                                                                                                                                 Suppliers or vendors
                                                                                                                                 Services
                                                                                                                                 Other


       3.7.
               C.H. Robinson International, Inc.                           7/22/21 -                        $18,907.21           Secured debt
                                                                           9/16/21                                               Unsecured loan repayments
                                                                                                                                 Suppliers or vendors
                                                                                                                                 Services
                                                                                                                                 Other


       3.8.
               Central Kentucky Hauling                                    8/13/21 -                        $22,704.62           Secured debt
                                                                           9/23/21                                               Unsecured loan repayments
                                                                                                                                 Suppliers or vendors
                                                                                                                                 Services
                                                                                                                                 Other


       3.9.
               Clear Path Mutual Insurance Co.                             7/23/21 -                          $9,846.00          Secured debt
                                                                           9/24/21                                               Unsecured loan repayments
                                                                                                                                 Suppliers or vendors
                                                                                                                                 Services
                                                                                                                                 Other




Official Form 207                                   Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    page 3
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                  Best Case Bankruptcy
             Case 21-51160-tnw                        Doc 1           Filed 10/19/21 Entered 10/19/21 15:21:42                              Desc Main
                                                                     Document      Page 41 of 61
 Debtor      Old World Timber, LLC                                                                      Case number (if known)



       Creditor's Name and Address                                         Dates                 Total amount of value         Reasons for payment or transfer
                                                                                                                               Check all that apply
       3.10
       .
            Comeback Consulting, LLC                                       8/11/21 -                        $19,686.28           Secured debt
                                                                           9/16/21                                               Unsecured loan repayments
                                                                                                                                 Suppliers or vendors
                                                                                                                                 Services
                                                                                                                                 Other


       3.11
       .
            Commonwealth of Kentucky                                       8/16/21                          $16,679.90           Secured debt
                                                                                                                                 Unsecured loan repayments
                                                                                                                                 Suppliers or vendors
                                                                                                                                 Services
                                                                                                                                 Other Bill payment


       3.12
       .
            Dallas Hacker                                                  8/11/21 -                        $76,579.20           Secured debt
                                                                           9/23/21                                               Unsecured loan repayments
                                                                                                                                 Suppliers or vendors
                                                                                                                                 Services
                                                                                                                                 Other


       3.13
       .
            Danny Landers                                                  7/23/21 -                        $46,711.90           Secured debt
                                                                           9/30/21                                               Unsecured loan repayments
                                                                                                                                 Suppliers or vendors
                                                                                                                                 Services
                                                                                                                                 Other


       3.14
       .
            EMO Trans Inc                                                  8/4/21 -                         $19,951.64           Secured debt
                                                                           9/7/21                                                Unsecured loan repayments
                                                                                                                                 Suppliers or vendors
                                                                                                                                 Services
                                                                                                                                 Other


       3.15
       .
            Estes Express Lines                                            8/4/21 -                         $10,608.60           Secured debt
                                                                           9/23/21                                               Unsecured loan repayments
                                                                                                                                 Suppliers or vendors
                                                                                                                                 Services
                                                                                                                                 Other


       3.16
       .
            Hot Shot Gooseneck, LLC                                        7/21/21 -                          $9,740.00          Secured debt
                                                                           9/28/21                                               Unsecured loan repayments
                                                                                                                                 Suppliers or vendors
                                                                                                                                 Services
                                                                                                                                 Other


       3.17
       .
            Ilya Prediye                                                   9/8/21 -                         $21,599.25           Secured debt
                                                                           9/16/21                                               Unsecured loan repayments
                                                                                                                                 Suppliers or vendors
                                                                                                                                 Services
                                                                                                                                 Other




Official Form 207                                   Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    page 4
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                  Best Case Bankruptcy
             Case 21-51160-tnw                        Doc 1           Filed 10/19/21 Entered 10/19/21 15:21:42                              Desc Main
                                                                     Document      Page 42 of 61
 Debtor      Old World Timber, LLC                                                                      Case number (if known)



       Creditor's Name and Address                                         Dates                 Total amount of value         Reasons for payment or transfer
                                                                                                                               Check all that apply
       3.18
       .
            Internal Revenue Service                                       7/14/21 -                        $66,637.82           Secured debt
                                                                           9/22/21                                               Unsecured loan repayments
                                                                                                                                 Suppliers or vendors
                                                                                                                                 Services
                                                                                                                                 Other Tax payments


       3.19
       .
            Intuit                                                         7/21/21 -                       $194,889.01           Secured debt
                                                                           8/17/21                                               Unsecured loan repayments
                                                                                                                                 Suppliers or vendors
                                                                                                                                 Services
                                                                                                                                 Other Payroll services


       3.20
       .
            Jason Reich                                                    7/30/21 -                       $139,000.00           Secured debt
                                                                           8/25/21                                               Unsecured loan repayments
                                                                                                                                 Suppliers or vendors
                                                                                                                                 Services
                                                                                                                                 Other


       3.21
       .
            KU                                                             8/5/21 -                         $26,472.04           Secured debt
                                                                           9/28/21                                               Unsecured loan repayments
                                                                                                                                 Suppliers or vendors
                                                                                                                                 Services
                                                                                                                                 Other


       3.22
       .
            Lakeside Woodworks                                             8/4/21 -                         $23,220.00           Secured debt
                                                                           9/14/21                                               Unsecured loan repayments
                                                                                                                                 Suppliers or vendors
                                                                                                                                 Services
                                                                                                                                 Other


       3.23
       .
            Longship                                                       9/7/21 -                         $14,600.00           Secured debt
                                                                           9/23/21                                               Unsecured loan repayments
                                                                                                                                 Suppliers or vendors
                                                                                                                                 Services
                                                                                                                                 Other


       3.24
       .
            Nathan Brown                                                   8/26/21 -                          $6,869.00          Secured debt
                                                                           9/21/21                                               Unsecured loan repayments
                                                                                                                                 Suppliers or vendors
                                                                                                                                 Services
                                                                                                                                 Other


       3.25
       .
            Nature's Choice                                                8/12/21                            $7,154.91          Secured debt
                                                                                                                                 Unsecured loan repayments
                                                                                                                                 Suppliers or vendors
                                                                                                                                 Services
                                                                                                                                 Other




Official Form 207                                   Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    page 5
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                  Best Case Bankruptcy
             Case 21-51160-tnw                        Doc 1           Filed 10/19/21 Entered 10/19/21 15:21:42                              Desc Main
                                                                     Document      Page 43 of 61
 Debtor      Old World Timber, LLC                                                                      Case number (if known)



       Creditor's Name and Address                                         Dates                 Total amount of value         Reasons for payment or transfer
                                                                                                                               Check all that apply
       3.26
       .
            Olde Globe Wood Company LLC                                    9/14/21                          $18,000.00           Secured debt
                                                                                                                                 Unsecured loan repayments
                                                                                                                                 Suppliers or vendors
                                                                                                                                 Services
                                                                                                                                 Other


       3.27
       .
            Oyler Law PLLC                                                 7/27/21 -                          $8,070.80          Secured debt
                                                                           9/15/21                                               Unsecured loan repayments
                                                                                                                                 Suppliers or vendors
                                                                                                                                 Services
                                                                                                                                 Other


       3.28
       .
            Raven Reclaimed, LLC                                           8/16/21 -                        $47,063.25           Secured debt
                                                                           8/19/21                                               Unsecured loan repayments
                                                                                                                                 Suppliers or vendors
                                                                                                                                 Services
                                                                                                                                 Other


       3.29
       .
            Real Wood Floors, LLC                                          8/31/21 -                          $9,013.43          Secured debt
                                                                           9/23/21                                               Unsecured loan repayments
                                                                                                                                 Suppliers or vendors
                                                                                                                                 Services
                                                                                                                                 Other


       3.30
       .
            Ron Dennis Fencing Inc                                         8/5/21 -                         $20,800.00           Secured debt
                                                                           9/22/21                                               Unsecured loan repayments
                                                                                                                                 Suppliers or vendors
                                                                                                                                 Services
                                                                                                                                 Other


       3.31
       .
            Rusexporta, LLC                                                7/23/21 -                        $22,956.16           Secured debt
                                                                           7/27/21                                               Unsecured loan repayments
                                                                                                                                 Suppliers or vendors
                                                                                                                                 Services
                                                                                                                                 Other


       3.32
       .
            SAIA Motor Freight Line, LLC                                   8/4/21 -                         $12,570.01           Secured debt
                                                                           9/23/21                                               Unsecured loan repayments
                                                                                                                                 Suppliers or vendors
                                                                                                                                 Services
                                                                                                                                 Other


       3.33
       .
            Scott P. Zoppoth, PLLC                                         8/10/21                            $8,000.00          Secured debt
                                                                                                                                 Unsecured loan repayments
                                                                                                                                 Suppliers or vendors
                                                                                                                                 Services
                                                                                                                                 Other




Official Form 207                                   Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    page 6
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                  Best Case Bankruptcy
             Case 21-51160-tnw                        Doc 1           Filed 10/19/21 Entered 10/19/21 15:21:42                              Desc Main
                                                                     Document      Page 44 of 61
 Debtor      Old World Timber, LLC                                                                      Case number (if known)



       Creditor's Name and Address                                         Dates                 Total amount of value         Reasons for payment or transfer
                                                                                                                               Check all that apply
       3.34
       .
            SM Storage, LLC                                                8/4/21 -                         $15,160.00           Secured debt
                                                                           9/7/21                                                Unsecured loan repayments
                                                                                                                                 Suppliers or vendors
                                                                                                                                 Services
                                                                                                                                 Other


       3.35
       .
            Total Quality Logistics                                        7/9/21 -                         $15,100.00           Secured debt
                                                                           9/16/21                                               Unsecured loan repayments
                                                                                                                                 Suppliers or vendors
                                                                                                                                 Services
                                                                                                                                 Other


       3.36
       .
            Transact Capital                                               7/30/21 -                        $14,000.00           Secured debt
                                                                           9/7/21                                                Unsecured loan repayments
                                                                                                                                 Suppliers or vendors
                                                                                                                                 Services
                                                                                                                                 Other


       3.37
       .
            Triple B Enterprises                                           8/27/21                          $38,336.25           Secured debt
                                                                                                                                 Unsecured loan repayments
                                                                                                                                 Suppliers or vendors
                                                                                                                                 Services
                                                                                                                                 Other


       3.38
       .
            Turners Machine Shop                                           8/23/21                          $13,264.49           Secured debt
                                                                                                                                 Unsecured loan repayments
                                                                                                                                 Suppliers or vendors
                                                                                                                                 Services
                                                                                                                                 Other


       3.39
       .
            Uline                                                          8/4/21 -                           $8,798.43          Secured debt
                                                                           9/23/21                                               Unsecured loan repayments
                                                                                                                                 Suppliers or vendors
                                                                                                                                 Services
                                                                                                                                 Other


       3.40
       .
            Wesbanco                                                       7/25/21 -                        $56,612.97           Secured debt
                                                                           10/4/21                                               Unsecured loan repayments
                                                                                                                                 Suppliers or vendors
                                                                                                                                 Services
                                                                                                                                 Other


       3.41
       .
            Advance Lexington                                              7/27/21 -                        $20,804.76           Secured debt
                                                                           9/21/21                                               Unsecured loan repayments
                                                                                                                                 Suppliers or vendors
                                                                                                                                 Services
                                                                                                                                 Other




Official Form 207                                   Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    page 7
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                  Best Case Bankruptcy
              Case 21-51160-tnw                       Doc 1           Filed 10/19/21 Entered 10/19/21 15:21:42                               Desc Main
                                                                     Document      Page 45 of 61
 Debtor       Old World Timber, LLC                                                                     Case number (if known)



4. Payments or other transfers of property made within 1 year before filing this case that benefited any insider
   List payments or transfers, including expense reimbursements, made within 1 year before filing this case on debts owed to an insider or guaranteed
   or cosigned by an insider unless the aggregate value of all property transferred to or for the benefit of the insider is less than $6,825. (This amount
   may be adjusted on 4/01/22 and every 3 years after that with respect to cases filed on or after the date of adjustment.) Do not include any payments
   listed in line 3. Insiders include officers, directors, and anyone in control of a corporate debtor and their relatives; general partners of a partnership
   debtor and their relatives; affiliates of the debtor and insiders of such affiliates; and any managing agent of the debtor. 11 U.S.C. § 101(31).

           None.

       Insider's name and address                                          Dates                 Total amount of value           Reasons for payment or transfer
       Relationship to debtor
       4.1.    Nathan Brown                                                11/1/20 -                        $16,500.00           Guaranteed lease payments to
                                                                           10/5/21                                               Haynes Properties
               CEO

       4.2.    Nathan Brown                                                11/6/20 -                       $285,255.40           American Express credit card
                                                                           7/8/21                                                payments on behalf of Nathan
               CEO                                                                                                               Brown

       4.3.    Nathan Brown                                                10/19/20 -                       $63,370.15           Guaranteed debt payments to
                                                                           7/13/21                                               Truist Bank
               CEO

5. Repossessions, foreclosures, and returns
   List all property of the debtor that was obtained by a creditor within 1 year before filing this case, including property repossessed by a creditor, sold at
   a foreclosure sale, transferred by a deed in lieu of foreclosure, or returned to the seller. Do not include property listed in line 6.

           None

       Creditor's name and address                               Describe of the Property                                      Date                  Value of property


6. Setoffs
   List any creditor, including a bank or financial institution, that within 90 days before filing this case set off or otherwise took anything from an account
   of the debtor without permission or refused to make a payment at the debtor’s direction from an account of the debtor because the debtor owed a
   debt.

           None

       Creditor's name and address                               Description of the action creditor took                       Date action was                 Amount
                                                                                                                               taken

 Part 3:      Legal Actions or Assignments

7. Legal actions, administrative proceedings, court actions, executions, attachments, or governmental audits
   List the legal actions, proceedings, investigations, arbitrations, mediations, and audits by federal or state agencies in which the debtor was involved
   in any capacity—within 1 year before filing this case.

           None.

               Case title                                        Nature of case             Court or agency's name and                Status of case
               Case number                                                                  address
       7.1.    3M Company v. Old World                           Lanham Act                 U.S. Eastern District of                     Pending
               Timber, LLC                                       violations                 Kentucky                                     On appeal
               5:21-cv=00140-REW-HAI                                                        101 Barr Street
                                                                                                                                         Concluded
                                                                                            Lexington, KY 40507


8. Assignments and receivership
   List any property in the hands of an assignee for the benefit of creditors during the 120 days before filing this case and any property in the hands of a
   receiver, custodian, or other court-appointed officer within 1 year before filing this case.

           None


 Part 4:      Certain Gifts and Charitable Contributions

Official Form 207                                   Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                       page 8
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                     Best Case Bankruptcy
             Case 21-51160-tnw                        Doc 1           Filed 10/19/21 Entered 10/19/21 15:21:42                              Desc Main
                                                                     Document      Page 46 of 61
 Debtor        Old World Timber, LLC                                                                        Case number (if known)




9. List all gifts or charitable contributions the debtor gave to a recipient within 2 years before filing this case unless the aggregate value of
   the gifts to that recipient is less than $1,000

           None

               Recipient's name and address                      Description of the gifts or contributions                  Dates given                      Value


 Part 5:       Certain Losses

10. All losses from fire, theft, or other casualty within 1 year before filing this case.

           None

       Description of the property lost and                      Amount of payments received for the loss                   Dates of loss       Value of property
       how the loss occurred                                                                                                                                 lost
                                                                 If you have received payments to cover the loss, for
                                                                 example, from insurance, government compensation, or
                                                                 tort liability, list the total received.

                                                                 List unpaid claims on Official Form 106A/B (Schedule
                                                                 A/B: Assets – Real and Personal Property).
       Alleged counterfeit N95 mask                              None                                                       June 30, 2021           $776,980.03
       inventory seized by US Marshals
       Service pursuant to Ex Parte
       Seizure and Temporary Retraining
       Order


 Part 6:       Certain Payments or Transfers

11. Payments related to bankruptcy
    List any payments of money or other transfers of property made by the debtor or person acting on behalf of the debtor within 1 year before the filing
    of this case to another person or entity, including attorneys, that the debtor consulted about debt consolidation or restructuring, seeking bankruptcy
    relief, or filing a bankruptcy case.

           None.

                Who was paid or who received                         If not money, describe any property transferred           Dates             Total amount or
                the transfer?                                                                                                                             value
                Address
       11.1.    Kaplan Johnson Abate & Bird
                LLP
                710 West Main Street
                4th Floor                                                                                                      6/29/21 -
                Louisville, KY 40202                                                                                           9/23/21                 $4,658.50

                Email or website address
                cbird@kaplanjohnsonlaw.com

                Who made the payment, if not debtor?




       11.2.    Kaplan Johnson Abate & Bird
                LLP
                710 West Main Street
                4th Floor
                Louisville, KY 40202                                 Retainer fee                                              10/18/2021            $20,000.00

                Email or website address


                Who made the payment, if not debtor?




Official Form 207                                   Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                  page 9
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                Best Case Bankruptcy
             Case 21-51160-tnw                        Doc 1           Filed 10/19/21 Entered 10/19/21 15:21:42                            Desc Main
                                                                     Document      Page 47 of 61
 Debtor      Old World Timber, LLC                                                                       Case number (if known)




12. Self-settled trusts of which the debtor is a beneficiary
    List any payments or transfers of property made by the debtor or a person acting on behalf of the debtor within 10 years before the filing of this case
    to a self-settled trust or similar device.
    Do not include transfers already listed on this statement.

           None.

       Name of trust or device                                       Describe any property transferred                Dates transfers             Total amount or
                                                                                                                      were made                            value

13. Transfers not already listed on this statement
    List any transfers of money or other property by sale, trade, or any other means made by the debtor or a person acting on behalf of the debtor within
    2 years before the filing of this case to another person, other than property transferred in the ordinary course of business or financial affairs. Include
    both outright transfers and transfers made as security. Do not include gifts or transfers previously listed on this statement.

           None.

               Who received transfer?                            Description of property transferred or                  Date transfer            Total amount or
               Address                                           payments received or debts paid in exchange             was made                          value

 Part 7:      Previous Locations

14. Previous addresses
    List all previous addresses used by the debtor within 3 years before filing this case and the dates the addresses were used.


           Does not apply

                Address                                                                                                    Dates of occupancy
                                                                                                                           From-To

 Part 8:      Health Care Bankruptcies

15. Health Care bankruptcies
    Is the debtor primarily engaged in offering services and facilities for:
    - diagnosing or treating injury, deformity, or disease, or
    - providing any surgical, psychiatric, drug treatment, or obstetric care?

            No. Go to Part 9.
            Yes. Fill in the information below.


                Facility name and address                        Nature of the business operation, including type of services            If debtor provides meals
                                                                 the debtor provides                                                     and housing, number of
                                                                                                                                         patients in debtor’s care

 Part 9:      Personally Identifiable Information

16. Does the debtor collect and retain personally identifiable information of customers?

            No.
            Yes. State the nature of the information collected and retained.

17. Within 6 years before filing this case, have any employees of the debtor been participants in any ERISA, 401(k), 403(b), or other pension or
    profit-sharing plan made available by the debtor as an employee benefit?

            No. Go to Part 10.
            Yes. Does the debtor serve as plan administrator?


 Part 10:     Certain Financial Accounts, Safe Deposit Boxes, and Storage Units




Official Form 207                                   Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                   page 10
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                 Best Case Bankruptcy
             Case 21-51160-tnw                        Doc 1           Filed 10/19/21 Entered 10/19/21 15:21:42                           Desc Main
                                                                     Document      Page 48 of 61
 Debtor      Old World Timber, LLC                                                                      Case number (if known)




18. Closed financial accounts
    Within 1 year before filing this case, were any financial accounts or instruments held in the debtor’s name, or for the debtor’s benefit, closed, sold,
    moved, or transferred?
    Include checking, savings, money market, or other financial accounts; certificates of deposit; and shares in banks, credit unions, brokerage houses,
    cooperatives, associations, and other financial institutions.

          None
              Financial Institution name and                     Last 4 digits of         Type of account or          Date account was           Last balance
              Address                                            account number           instrument                  closed, sold,          before closing or
                                                                                                                      moved, or                       transfer
                                                                                                                      transferred

19. Safe deposit boxes
    List any safe deposit box or other depository for securities, cash, or other valuables the debtor now has or did have within 1 year before filing this
    case.


          None

       Depository institution name and address                        Names of anyone with                Description of the contents          Do you still
                                                                      access to it                                                             have it?
                                                                      Address

20. Off-premises storage
    List any property kept in storage units or warehouses within 1 year before filing this case. Do not include facilities that are in a part of a building in
    which the debtor does business.


          None

       Facility name and address                                      Names of anyone with                Description of the contents          Do you still
                                                                      access to it                                                             have it?


 Part 11:     Property the Debtor Holds or Controls That the Debtor Does Not Own

21. Property held for another
    List any property that the debtor holds or controls that another entity owns. Include any property borrowed from, being stored for, or held in trust. Do
    not list leased or rented property.

        None


 Part 12:     Details About Environment Information

For the purpose of Part 12, the following definitions apply:
     Environmental law means any statute or governmental regulation that concerns pollution, contamination, or hazardous material, regardless of the
     medium affected (air, land, water, or any other medium).

      Site means any location, facility, or property, including disposal sites, that the debtor now owns, operates, or utilizes or that the debtor formerly
      owned, operated, or utilized.

      Hazardous material means anything that an environmental law defines as hazardous or toxic, or describes as a pollutant, contaminant, or a
      similarly harmful substance.

Report all notices, releases, and proceedings known, regardless of when they occurred.

22. Has the debtor been a party in any judicial or administrative proceeding under any environmental law? Include settlements and orders.

            No.
            Yes. Provide details below.

       Case title                                                     Court or agency name and            Nature of the case                   Status of case
       Case number                                                    address

23. Has any governmental unit otherwise notified the debtor that the debtor may be liable or potentially liable under or in violation of an
    environmental law?

Official Form 207                                   Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                page 11
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                              Best Case Bankruptcy
             Case 21-51160-tnw                        Doc 1           Filed 10/19/21 Entered 10/19/21 15:21:42                                Desc Main
                                                                     Document      Page 49 of 61
 Debtor      Old World Timber, LLC                                                                      Case number (if known)



            No.
            Yes. Provide details below.

       Site name and address                                          Governmental unit name and              Environmental law, if known               Date of notice
                                                                      address

24. Has the debtor notified any governmental unit of any release of hazardous material?

            No.
            Yes. Provide details below.

       Site name and address                                          Governmental unit name and              Environmental law, if known               Date of notice
                                                                      address

 Part 13:     Details About the Debtor's Business or Connections to Any Business

25. Other businesses in which the debtor has or has had an interest
    List any business for which the debtor was an owner, partner, member, or otherwise a person in control within 6 years before filing this case.
    Include this information even if already listed in the Schedules.

          None

    Business name address                                     Describe the nature of the business              Employer Identification number
                                                                                                               Do not include Social Security number or ITIN.

                                                                                                               Dates business existed

26. Books, records, and financial statements
    26a. List all accountants and bookkeepers who maintained the debtor’s books and records within 2 years before filing this case.
             None

       Name and address                                                                                                                        Date of service
                                                                                                                                               From-To
       26a.1.       Zachary Lakes                                                                                                              11/17/2016 -
                    102 Rebecca Drive                                                                                                          5/10/2021
                    Richmond, KY 40475
       26a.2.       Denise Gilliland                                                                                                           5/10/2021 - current
                    308 Mary Lane
                    Carlisle, KY 40311

    26b. List all firms or individuals who have audited, compiled, or reviewed debtor’s books of account and records or prepared a financial statement
         within 2 years before filing this case.

              None


    26c. List all firms or individuals who were in possession of the debtor’s books of account and records when this case is filed.

              None

       Name and address                                                                                      If any books of account and records are
                                                                                                             unavailable, explain why

    26d. List all financial institutions, creditors, and other parties, including mercantile and trade agencies, to whom the debtor issued a financial
         statement within 2 years before filing this case.

              None

       Name and address
       26d.1.       BB&T / Truist
                    200 West Vine Street
                    Lexington, KY 40507



Official Form 207                                   Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                          page 12
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                        Best Case Bankruptcy
             Case 21-51160-tnw                        Doc 1           Filed 10/19/21 Entered 10/19/21 15:21:42                           Desc Main
                                                                     Document      Page 50 of 61
 Debtor      Old World Timber, LLC                                                                      Case number (if known)



       Name and address
       26d.2.       WesBanco Bank, Inc.
                    400 E. Vine Street
                    Lexington, KY 40507

27. Inventories
    Have any inventories of the debtor’s property been taken within 2 years before filing this case?

            No
            Yes. Give the details about the two most recent inventories.

                Name of the person who supervised the taking of the                         Date of inventory        The dollar amount and basis (cost, market,
                inventory                                                                                            or other basis) of each inventory
       27.1 Zachary Lakes                                                                                            Raw materials $344,546
       .                                                                                                             Work in progress $72,589
                                                                                                                     Finished goods $162,464
                                                                                            7/2/21                   TOTAL $579,599

                Name and address of the person who has possession of
                inventory records
                Old World Timber
                1195 Versailles Road
                Lexington, KY 40508


28. List the debtor’s officers, directors, managing members, general partners, members in control, controlling shareholders, or other people
    in control of the debtor at the time of the filing of this case.

       Name                                           Address                                             Position and nature of any            % of interest, if
                                                                                                          interest                              any
       Nathan S. Brown                                368 Merino Street                                   Member and CEO                        95
                                                      Lexington, KY 40508

       Name                                           Address                                             Position and nature of any            % of interest, if
                                                                                                          interest                              any
       Fred Doster                                    4025 Palmetto Springs Way                           Member and Interim CFO                5
                                                      Lexington, KY 40513

       Name                                           Address                                             Position and nature of any            % of interest, if
                                                                                                          interest                              any
       Denise Gilliland                               308 Mary Lane                                       Controller
                                                      Carlisle, KY 40311

       Name                                           Address                                             Position and nature of any            % of interest, if
                                                                                                          interest                              any
       Adam Sloan                                     81 Lantern Way                                      Officer
                                                      Nicholasville, KY 40356

       Name                                           Address                                             Position and nature of any            % of interest, if
                                                                                                          interest                              any
       Andrew Willis                                  317 Gleneagles Way                                  Officer
                                                      Nicholasville, KY 40356

       Name                                           Address                                             Position and nature of any            % of interest, if
                                                                                                          interest                              any
       Zachary Lakes                                  102 Rebecca Drive                                   Director of Operations
                                                      Richmond, KY 40475



29. Within 1 year before the filing of this case, did the debtor have officers, directors, managing members, general partners, members in
    control of the debtor, or shareholders in control of the debtor who no longer hold these positions?


Official Form 207                                   Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    page 13
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                  Best Case Bankruptcy
             Case 21-51160-tnw                        Doc 1           Filed 10/19/21 Entered 10/19/21 15:21:42                             Desc Main
                                                                     Document      Page 51 of 61
 Debtor      Old World Timber, LLC                                                                      Case number (if known)




            No
            Yes. Identify below.

       Name                                           Address                                             Position and nature of any        Period during which
                                                                                                          interest                          position or interest
                                                                                                                                            was held
       Rocke Saccone                                  104 Vale Lane                                       Director of Operations            7/8/19 - 3/31/21
                                                      Georgetown, KY 40324

       Name                                           Address                                             Position and nature of any        Period during which
                                                                                                          interest                          position or interest
                                                                                                                                            was held
       Zachary Lakes                                  102 Rebecca Drive                                   Moved from Controller             11/17/16 - 5/10/21
                                                      Richmond, KY 40475                                  to Director of Operations


30. Payments, distributions, or withdrawals credited or given to insiders
    Within 1 year before filing this case, did the debtor provide an insider with value in any form, including salary, other compensation, draws, bonuses,
    loans, credits on loans, stock redemptions, and options exercised?

            No
            Yes. Identify below.

               Name and address of recipient                     Amount of money or description and value of             Dates              Reason for
                                                                 property                                                                   providing the value
       30.1 Nathan Brown                                                                                                                    Reimbursement of
       .                                                         $5,094                                                  8/26/21, 9/7/21    health insurance

               Relationship to debtor
               Founder/CEO


       30.2 Nathan Brown                                                                                                                    Shareholder loan
       .                                                         $850                                                    9/21/21            payments

               Relationship to debtor
               Founder/ CEO


       30.3 Nathan Brown                                                                                                                    Accrued interest
       .                                                         $925                                                    9/21/21            payments

               Relationship to debtor
               Founder/ CEO


       30.4                                                                                                                                 Monthly
       .    Fred Doster                                                                                                                     consulting
                                                                 $42,000                                                 monthly            services

               Relationship to debtor
               Interim CFO


31. Within 6 years before filing this case, has the debtor been a member of any consolidated group for tax purposes?

            No
            Yes. Identify below.

    Name of the parent corporation                                                                             Employer Identification number of the parent
                                                                                                               corporation




Official Form 207                                   Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                  page 14
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                Best Case Bankruptcy
             Case 21-51160-tnw                        Doc 1           Filed 10/19/21 Entered 10/19/21 15:21:42                          Desc Main
                                                                     Document      Page 52 of 61
 Debtor      Old World Timber, LLC                                                                      Case number (if known)



32. Within 6 years before filing this case, has the debtor as an employer been responsible for contributing to a pension fund?

            No
            Yes. Identify below.

    Name of the pension fund                                                                                   Employer Identification number of the parent
                                                                                                               corporation

 Part 14:     Signature and Declaration

      WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
      connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both.
      18 U.S.C. §§ 152, 1341, 1519, and 3571.

      I have examined the information in this Statement of Financial Affairs and any attachments and have a reasonable belief that the information is true
      and correct.

      I declare under penalty of perjury that the foregoing is true and correct.

 Executed on         October 19, 2021

 /s/ Nathan S. Brown                                                     Nathan S. Brown
 Signature of individual signing on behalf of the debtor                 Printed name

 Position or relationship to debtor         CEO

Are additional pages to Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy (Official Form 207) attached?
   No
   Yes




Official Form 207                                   Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                  page 15
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                               Best Case Bankruptcy
              Case 21-51160-tnw                       Doc 1           Filed 10/19/21 Entered 10/19/21 15:21:42                     Desc Main
                                                                     Document      Page 53 of 61
B2030 (Form 2030) (12/15)
                                                               United States Bankruptcy Court
                                                                      Eastern District of Kentucky
 In re       Old World Timber, LLC                                                                             Case No.
                                                                                  Debtor(s)                    Chapter        11

                          DISCLOSURE OF COMPENSATION OF ATTORNEY FOR DEBTOR(S)
1.     Pursuant to 11 U .S.C. § 329(a) and Fed. Bankr. P. 2016(b), I certify that I am the attorney for the above named debtor(s) and that
       compensation paid to me within one year before the filing of the petition in bankruptcy, or agreed to be paid to me, for services rendered or to
       be rendered on behalf of the debtor(s) in contemplation of or in connection with the bankruptcy case is as follows:
              For legal services, I have agreed to accept                                                  $      385.00/ hour
              Prior to the filing of this statement I have received                                        $      20,000.00
              Balance Due                                                                                  $      385.00/ hour

2.     The source of the compensation paid to me was:

                 Debtor            Other (specify):

3.     The source of compensation to be paid to me is:

                 Debtor            Other (specify):

4.          I have not agreed to share the above-disclosed compensation with any other person unless they are members and associates of my law firm.

          I have agreed to share the above-disclosed compensation with a person or persons who are not members or associates of my law firm. A
             copy of the agreement, together with a list of the names of the people sharing in the compensation is attached.

5.       In return for the above-disclosed fee, I have agreed to render legal service for all aspects of the bankruptcy case, including:

       a.    Analysis of the debtor's financial situation, and rendering advice to the debtor in determining whether to file a petition in bankruptcy;
       b.    Preparation and filing of any petition, schedules, statement of affairs and plan which may be required;
       c.    Representation of the debtor at the meeting of creditors and confirmation hearing, and any adjourned hearings thereof;
       d.    [Other provisions as needed]
                  Negotiations with creditors; preparation and filing of motions and applications as needed.

6.     By agreement with the debtor(s), the above-disclosed fee does not include the following service:
               Representation of the debtor in any associated cases or proceedings pending or initiated before state courts
               other than for purposes of monitoring and enforcing automatic stay, federal courts not related to the bankruptcy
               case, or administrative tribunals.
                                                                           CERTIFICATION
       I certify that the foregoing is a complete statement of any agreement or arrangement for payment to me for representation of the debtor(s) in
 this bankruptcy proceeding.

     October 18, 2021                                                              /s/ Charity S. Bird
     Date                                                                         Charity S. Bird
                                                                                  Signature of Attorney
                                                                                  Kaplan Johnson Abate & Bird LLP
                                                                                  710 West Main Street
                                                                                  Fourth Floor
                                                                                  Louisville, KY 40202
                                                                                  (502) 540-8285 Fax: (502) 540-8282
                                                                                  cbird@kaplanjohnsonlaw.com
                                                                                  Name of law firm




Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                          Best Case Bankruptcy
             Case 21-51160-tnw                        Doc 1           Filed 10/19/21 Entered 10/19/21 15:21:42                              Desc Main
                                                                     Document      Page 54 of 61
                                                               United States Bankruptcy Court
                                                                      Eastern District of Kentucky
 In re      Old World Timber, LLC                                                                                     Case No.
                                                                                    Debtor(s)                         Chapter        11

                                                         LIST OF EQUITY SECURITY HOLDERS
Following is the list of the Debtor's equity security holders which is prepared in accordance with rule 1007(a)(3) for filing in this Chapter 11 Case

 Name and last known address or place of                             Security Class Number of Securities                         Kind of Interest
 business of holder
 Fred Doster                                                                          5%                                         Member



 Nathan S. Brown                                                                      95%                                        Member



DECLARATION UNDER PENALTY OF PERJURY ON BEHALF OF CORPORATION OR PARTNERSHIP

        I, the CEO of the corporation named as the debtor in this case, declare under penalty of perjury that I have read the
foregoing List of Equity Security Holders and that it is true and correct to the best of my information and belief.



 Date October 19, 2021                                                       Signature /s/ Nathan S. Brown
                                                                                            Nathan S. Brown

                       Penalty for making a false statement of concealing property: Fine of up to $500,000 or imprisonment for up to 5 years or both.
                                                                        18 U.S.C. §§ 152 and 3571.




Sheet 1 of 1 in List of Equity Security Holders
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
             Case 21-51160-tnw                        Doc 1           Filed 10/19/21 Entered 10/19/21 15:21:42                   Desc Main
                                                                     Document      Page 55 of 61




                                                               United States Bankruptcy Court
                                                                      Eastern District of Kentucky
 In re      Old World Timber, LLC                                                                             Case No.
                                                                                    Debtor(s)                 Chapter      11




                                          VERIFICATION OF MAILING LIST MATRIX


            I, the CEO of the corporation named as the petitioner(s) in the above-styled bankruptcy action, declare under penalty of

perjury that the attached mailing list matrix of creditors and other parties in interest consisting of             5     page(s) is true and correct and

complete, to the best of my (our) knowledge.




 Date:       October 19, 2021                                            /s/ Nathan S. Brown
                                                                         Nathan S. Brown/CEO
                                                                         Signer/Title



I,        Charity S. Bird          , counsel for the petitioner(s) in the above-styled bankruptcy action, declare that the attached Master
Address List consisting of 5 page(s) has been verified by comparison to Schedules D through H to be complete, to the best of my
knowledge. I further declare that the attached Master Address List can be relied upon by the Clerk of Court to provide notice to all
creditors and parties in interest as related to me by the debtor(s) in the above-styled bankruptcy action until such time as any
amendments may be made.




 Date: October 19, 2021                                                  /s/ Charity S. Bird
                                                                         Signature of Attorney
                                                                         Charity S. Bird
                                                                         Kaplan Johnson Abate & Bird LLP
                                                                         710 West Main Street
                                                                         Fourth Floor
                                                                         Louisville, KY 40202
                                                                         (502) 540-8285 Fax: (502) 540-8282




Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                        Best Case Bankruptcy
    Case 21-51160-tnw   Doc 1    Filed 10/19/21 Entered 10/19/21 15:21:42   Desc Main
                                Document      Page 56 of 61


}
b
k
1
{
C
r
e
d
i
t
o
A
s
M
a
x




                        3M Company
                        3M Center
                        2501 Hudson Road
                        Saint Paul MN 55144


                        Advance Lexington
                        PO Box 1050
                        Lexington KY


                        AmeriGas Propane, L.P.
                        PO Box 371473
                        Pittsburgh PA


                        Anthem Blue Cross Blue Shield
                        PO Box 4445
                        Atlanta GA


                        Averitt Express
                        PO Box 102197
                        Atlanta GA


                        B & B Saw and Tool
                        115 Front Street
                        Mt. Orab OH


                        Baptist Health Medical Group
                        PO Box 734839
                        Chicago IL 60673


                        BB&T
                        BB&T Item Processing Center
                        PO Box 580050
                        Charlotte NC


                        BPM Lumber, LLC
                        1256 Manchester Street
                        Lexington KY 40504


                        Byline Finance Group
                        2801 Lakeside Drive
                        212
                        Deerfield IL 60015
Case 21-51160-tnw   Doc 1    Filed 10/19/21 Entered 10/19/21 15:21:42   Desc Main
                            Document      Page 57 of 61



                    Central Kentucky Hauling
                    604 Bizzell Dr
                    Ste 250
                    Lexington KY


                    ClearPath Mutual Insurance Co.
                    P.O. Box 32160
                    Louisville KY


                    Columbia Gas of Kentucky
                    PO BOX 4660
                    Carol Stream IL


                    Crown Credit
                    PO Box 640352
                    Cincinnati OH 45264-0352


                    Crown Equipment Corporation
                    44 S. Washington Street
                    New Bremen OH 45869


                    CT Lien Solutions
                    P.O. Box 29071
                    Glendale CA 91209-9071


                    Danny Landers
                    120 Frank Stanton Rd
                    Limestone TN


                    Emo Trans Inc
                    377 Oak St Ste 202
                    Garden City NY


                    Estes Express Lines
                    PO Box 105160
                    Atlanta GA


                    FoShan BoRen Trading Co. Ltd.
                    No. 88, Tianhe District
                    Guangzhou, Guangdong, China
Case 21-51160-tnw   Doc 1    Filed 10/19/21 Entered 10/19/21 15:21:42   Desc Main
                            Document      Page 58 of 61



                    Gordon Rees Scully Mansukhani LLP
                    Attn: R. Scott Norman
                    325 W. Main Street
                    Waterfront Plaza -- West Tower Ste 2300
                    Louisville KY 40202


                    Greene Espel PLLP
                    Attn: Sybil L. Dunlop
                    222 South 9th Street, Suite 2200
                    Minneapolis MN 55402


                    Haynes Properties
                    Alvin Haynes
                    1229 Versailles Rd
                    Lexington KY


                    Haynes Properties
                    1229 Versailles Road
                    Lexington KY 40508


                    Jeff Foster Trucking, Inc.
                    PO Box 367
                    Superior WI 54880


                    Journey Pallets, LLC
                    103 Steelman Ave
                    Highland Heights KY


                    Kartash Inc.
                    77 Sands Street
                    Brooklyn NY 11201


                    KU
                    PO Box 25212
                    Lehigh Valley PA 18002


                    Lakeside Woodworks (ky)
                    214 Lakeside Drive
                    Georgetown KY


                    Longship
                    PO Box 2220
                    Lexington KY 40588
Case 21-51160-tnw   Doc 1    Filed 10/19/21 Entered 10/19/21 15:21:42   Desc Main
                            Document      Page 59 of 61



                    Michael Weinig, Inc
                    124 Crosslake Park Drive
                    P.O. Box 3158
                    Mooresville NC


                    Mike Brodarick
                    Lloyd & McDaniel
                    700 N. Hurstbourne Pkwy
                    Louisville KY 40222


                    MyCarrier, LLC
                    15950 N 76th Street
                    Suite 200
                    Scottdale AZ


                    Nathan Brown
                    368 Merino Street
                    Lexington KY 40508


                    Nathan Brown



                    Olde Globe Wood Company LLC
                    261 School Ave
                    Suite 240
                    Excelsior MN


                    Pelycon Technologies
                    162 Old Todds Rd
                    Suite 220
                    Lexington KY 40509


                    SAIA Motor Freight Line, LLC
                    P.O. BOX 730532
                    Dallas TX


                    SM Storage, LLC
                    Alvin Haynes
                    1229 Versailles Rd
                    Lexington KY


                    South Central Bank
                    2000 Warrington Way
                    #200
                    Louisville KY 40222
Case 21-51160-tnw   Doc 1    Filed 10/19/21 Entered 10/19/21 15:21:42   Desc Main
                            Document      Page 60 of 61



                    The Huntington National Bank
                    PO Box 77077
                    Minneapolis MN 55480-7777


                    Triple B Enterprises
                    6206 Ganges Five Points Rd
                    Shiloh OH


                    Truist Bank, Inc.
                    214 North Tryon Street
                    Charlotte NC 28202


                    U.S. Small Business Administration
                    2 International Plaza
                    Suite 500
                    Nashville TN 37217


                    Uline
                    Uline Accounts Receivable
                    P.O. Box 88741
                    Chicago IL


                    Verizon Wireless
                    PO Box 16810
                    Newark NJ


                    WesBanco Bank, Inc.
                    400 E. Vine Street
                    Lexington KY 40507
             Case 21-51160-tnw                        Doc 1           Filed 10/19/21 Entered 10/19/21 15:21:42             Desc Main
                                                                     Document      Page 61 of 61



                                                               United States Bankruptcy Court
                                                                      Eastern District of Kentucky
 In re      Old World Timber, LLC                                                                          Case No.
                                                                                     Debtor(s)             Chapter    11




                                           CORPORATE OWNERSHIP STATEMENT (RULE 7007.1)

Pursuant to Federal Rule of Bankruptcy Procedure 7007.1 and to enable the Judges to evaluate possible disqualification or
recusal, the undersigned counsel for Old World Timber, LLC in the above captioned action, certifies that the following is
a (are) corporation(s), other than the debtor or a governmental unit, that directly or indirectly own(s) 10% or more of any
class of the corporation's(s') equity interests, or states that there are no entities to report under FRBP 7007.1:



    None [Check if applicable]




 October 19, 2021                                                      /s/ Charity S. Bird
 Date                                                                  Charity S. Bird
                                                                       Signature of Attorney or Litigant
                                                                       Counsel for Old World Timber, LLC
                                                                       Kaplan Johnson Abate & Bird LLP
                                                                       710 West Main Street
                                                                       Fourth Floor
                                                                       Louisville, KY 40202
                                                                       (502) 540-8285 Fax:(502) 540-8282
                                                                       cbird@kaplanjohnsonlaw.com




Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                              Best Case Bankruptcy
